                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

ST. MARY CATHOLIC PARISH IN
LITTLETON; ST. BERNADETTE                         Case No. 1:23-cv-2079-JLK
CATHOLIC PARISH IN LAKEWOOD;
DANIEL SHELEY; LISA SHELEY; and
THE ARCHDIOCESE OF DENVER,

Plaintiffs,                                       PLAINTIFFS’ PROPOSED
                                                  FINDINGS OF FACT AND
    v.                                            CONCLUSIONS OF LAW

LISA ROY, in her official capacity as Executive
Director of the Colorado Department of Early
Childhood; and DAWN ODEAN, in her official
capacity as Director of Colorado’s Universal
Preschool Program,

Defendants.




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                                                                         3
                                         INTRODUCTION

   This is a case about whether two Catholic preschools can participate in Colorado’s Universal

Preschool Program without abandoning their sincere religious exercise. Throughout this litigation,

Defendants have thrown every possible argument against the wall to keep Plaintiffs out of UPK

Colorado—from pretending Plaintiffs “voluntarily” chose not to participate, to offering a host of

utterly baseless arguments like claiming that Plaintiffs’ religious beliefs are inconsistent, that those

beliefs are harming four-year-olds, and that Plaintiffs seek an exception no other UPK provider

has ever been granted.

   The evidence at trial told a very different story. Plaintiff preschools—the parish preschools at

St. Mary Catholic Parish and St. Bernadette Catholic Parish—persuasively demonstrated that they

were excluded from UPK Colorado on account of their sincere religious exercise and that, but for

this exclusion, they would immediately seek to participate in the program. And Lisa Sheley testi-

fied that, but for Defendants’ actions, she and her husband Dan would be eligible for at least 15

hours per week of free preschool for their four-year-old, saving them $4,700 annually.

   In response, Defendants put on the Director of UPK Colorado who confirmed that preschools

can participate in the program even if they limit their enrollment based on disability, religious

affiliation, income level, race, sexual orientation, and gender identity (all of which are statuses

covered by the Equal Opportunity Mandate). Defendants also put on experts who (i) confirmed

that no preschool student or family has been or likely will be harmed by Plaintiffs’ religious beliefs

or exercise, (ii) were unable to point to a single study showing harm to preschoolers from a (hy-

pothetical) preschool enrollment denial, and (iii) failed to come up with any evidence (or even a

theory) supporting Defendants’ claim that excluding two Catholic preschools from UPK Colorado

somehow increases access to affirming preschools. Instead, the evidence at trial confirmed that

the only people actually harmed are families like the Sheleys—families motivated by their faith to




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send their kids to Catholic preschools and who are being denied a generally available government

benefit as a result.

    The most on-point line of Supreme Court precedent regarding denials of government funding

on account of religious exercise starts with cases like Sherbert and Thomas and culminates in

Carson v. Makin. And under Carson, if Colorado has excluded Plaintiff preschools and the Sheleys

from a generally available government funding program on account of their religious exercise,

strict scrutiny is triggered regardless of whether the program is otherwise deemed neutral and
generally applicable (in fact, Carson notes that exclusion on these grounds is itself clear evidence

of non-neutrality). Here, there is no dispute that Plaintiff preschools and the Sheleys are excluded

from UPK Colorado on account of their religious exercise. Strict scrutiny is required.

    But that is just the start of Defendants’ constitutional violations. As this Court recognized in

its summary judgment order, the “key question[]” to be addressed at trial was whether UPK Col-

orado’s Equal Opportunity Mandate is both neutral and generally applicable. The evidence con-

firmed that it is not. Starting with general applicability, the testimony showed that preschool pro-

viders may deny families an “equal opportunity to enroll and receive preschool services” on ac-

count of “religious affiliation” (a Catholic preschool could exclude Lutheran families, and vice

versa); “race” (UPK preschool could limit enrollment to “children of color from historically un-

derserved areas”); “disability” (UPK preschool could serve only children with disabilities); “in-

come level” (Head Start programs could limit enrollment based on “income level”); “sexual ori-

entation” (UPK preschool could limit enrollment to “the LGBTQ community”); and “gender iden-

tity” (UPK preschool could limit enrollment to “gender-nonconforming students”). Providers

therefore participate in UPK Colorado today without complying with the Mandate’s plain terms

for at least six other reasons—even while the Department denies Plaintiffs that same opportunity

solely on account of their religious exercise. Defendants can’t dispute these facts; they instead

argue that there are good reasons to allow other providers to have these enrollment preferences,



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and that they are consistent with the purpose behind the UPK statute. But that’s exactly the point—

when the government is making value-laden decisions regarding which reasons are the right rea-

sons, strict scrutiny is triggered under Tandon and Kennedy.

   There is more. In addition to categorical exceptions, the Department has at least two mecha-

nisms for granting individualized exceptions: a statutory provision and a wholly discretionary in-

dividualized exception process. As for the statutory provision, Defendants’ only response is to

claim that the Equal Opportunity Mandate (primarily concerned with ensuring equality in the ad-
missions process) is actually a “health and safety” requirement. But this interpretation flies in the

face of common sense, contradicts the text of the Department’s own contracts, and appears to have

been invented during this litigation. And as for the wholly discretionary exceptions, even the two

examples Defendants used on their exception request form violate the Mandate (allowing a pro-

vider to serve only “teen moms” or children with disabilities), confirming this process was in-

tended to allow some UPK preschools to seek exceptions from the plain text of the Mandate—just

not religious schools like Plaintiff preschools.

   Defendants’ exclusion of Plaintiff preschools is also not neutral. Defendants openly disparaged

Plaintiffs’ religious beliefs—even comparing them to 1970s segregation academies in the South.

And—while “work[ing] really hard” to accommodate everyone else—Defendants appear to have

singled out only schools with Plaintiffs’ religious beliefs for exclusion, letting in over 2,000 other

preschool providers.

   Having triggered strict scrutiny in at least four separate ways, Defendants fail to meet its high

standard. Defendants’ alleged interests are hardly compelling when they (i) lack any evidence that

their actions address an actual (non-speculative) harm, (ii) cannot connect their alleged interest to

the decision to exclude Plaintiff preschools from UPK Colorado, and (iii) put on expert testimony

undermining their own claims. Nor have Defendants demonstrated that they are pursuing their

interests in a way that is narrowly tailored; instead, they have declined to pursue alternative ways



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of advancing their interests with respect to Plaintiff preschools, even as they employ the very same

alternatives for numerous other providers.

    Beyond these Free Exercise Clause claims, Defendants’ attempt to regulate Plaintiff preschools’

employment decisions violates the principles of church autonomy, and both the Mandate and Par-

agraph 18(B) (Defendants’ catch-all nondiscrimination provision) infringe on Plaintiff preschools’

right of expressive association and favor some religious groups over others, violating denomina-

tional neutrality.
    Because Plaintiff preschools and the Sheleys have shown success on the merits, this Court

should enter final judgment in their favor. Specifically, this Court should grant an injunction al-

lowing them to participate in UPK Colorado immediately, as well as declaratory relief and nominal

damages.




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           [PROPOSED] FINDINGS OF FACT AND CONCLUSIONS OF LAW

    Trial to the bench was held from January 2, 2024, through January 4, 2024. Having heard the

testimony of the witnesses and assessed their credibility, reviewed and considered the exhibits

admitted into evidence, heard and considered the statements of counsel and reviewed the applica-

ble law, the Court makes the following Findings of Fact and Conclusions of Law.

                                      FINDINGS OF FACT 1

A. The Archdiocese of Denver

    1. “The Archdiocese of Denver is the geographic reality” of “the Catholic Church in northern

Colorado.” It “operates under the pastoral leadership of Archbishop Sam[uel] Aquila.” Tr. (Day 1,

Chilelli) 35:17-36:2. 2
    2. The Archdiocese’s purpose “is to establish ministries across northern Colorado in order to

communicate the message of the gospel, … and in that way, … lead the faithful and the non-faith-

ful to the rescue of Jesus Christ.” Id. at 36:5-10.

    3. Among the Archdiocese’s ministries are preschools. In particular, the Archdiocese’s Office

of Catholic Schools oversees 36 parish and Archdiocesan preschools serving approximately 1,500

students, including the preschools of Plaintiffs St. Mary Catholic Parish in Littleton and St. Ber-

nadette Catholic Parish in Lakewood. Id. at 36:13-37:13; Tr. (Day 1, Seul) 73:3-24; Tr. (Day 1,

Coats) 105:1-12.


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    This Court already admitted all the stipulated trial exhibits and stated that, as to the others, the
Court would reserve its ruling on the motion seeking their admission “until the findings of fact.”
Tr. (Day 1) 31:20-32:8; see ECF No. 79 (unified exhibit list). The Court also clarified that, given
the reservation of the ruling on the motion, there was no need to offer each exhibit individually
during trial. Tr. (Day 1) 41:23-24. Accordingly, Plaintiffs now respectfully re-urge their motion to
admit the following 13 non-stipulated exhibits: Nos. 2, 3, 4, 5, 6, 7, 8, 9, 10, 23, 33, 38, and 39.
Plaintiffs’ remaining non-stipulated exhibits—specifically, 1, 26, and 27—have already been ad-
mitted by the Court. See Tr. (Day 1) 40:20-22, 129:12-17; ECF No. 97 at 2-3.
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   Citations to “Tr.” refer to the transcript of the January 2-4, 2024, bench trial. See ECF Nos.
103, 104, 106.


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   4. Archdiocesan preschools exercise the delegated teaching authority of the Archbishop

within the hierarchy of the Catholic Church. Tr. (Day 1, Chilelli) 37:10-38:3; Tr. (Day 1, Seul)

73:1-24. The mission of the Archdiocese’s schools is to be “sanctuaries of education … [and to]

support parents and empower families in their mission, which is to lead children to Jesus Christ in

order that those children might have abundant life for the glory of the Father.” Tr. (Day 1, Chilelli)

40:24-41:20; Ex. 3 at 1.

B. Plaintiff preschools
   5. Plaintiffs St. Mary’s and St. Bernadette’s operate Catholic preschools to assist parents in

providing a high-quality religious education to their children. Tr. (Day 1, Seul) 74:2-5; Tr. (Day 1,

Coats) 111:4-9; Ex. 14 at 3-4; Ex. 17 at 7.

   6. St. Mary’s aim is to form its preschoolers into “saints, heroes, and geniuses.” Tr. (Day 1,

Seul) 86:6-9; Ex. 17 at 7 ¶ 1. As part of its preschool admissions process, St. Mary’s asks interested

families to complete an inquiry form and visit the preschool. After touring the preschool and meet-

ing the preschool director, families interested in enrolling must complete a formal application and

meet with the school’s principal. If admitted, the family then must complete and sign an enrollment

packet that includes the Archdiocese’s Statement of Community Beliefs, the school handbook, and

other forms. Tr. (Day 1, Seul) 76:25-79:20; see also Ex. 2; Ex. 17; Ex. 18.

   7. St. Bernadette’s school, called Wellspring Catholic Academy, aims “to raise up disciples

of Christ … through our motto of dig deep, … find more, and share greatly,” and through “aca-

demics, faith, service, and adventure.” Tr. (Day 1, Coats) 106:10-14; Ex. 14 at 6-8. To enroll a

child at Wellspring, a family must similarly complete an application packet, set up a family tour,

and (in most cases) schedule a shadow day for their child. The principal also meets with the family.

Once a child is accepted, the parents review and sign the school handbook, which also incorporates

the Archdiocesan Code of Conduct. Tr. (Day 1, Coats) 109:9-110:6, 111:2-112:12.




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   8. Both St. Mary’s and Wellspring’s preschools are licensed in the State of Colorado and have

attained four-star ratings (the second highest score) from the Colorado Shines rating system, which

is operated by the Colorado Department of Early Childhood. Tr. (Day 1, Seul) 71:13-72:1; Tr.

(Day 1, Coats) 104:17-23; Tr. (Day 3, Burne) 398:14-20.

C. Daniel and Lisa Sheley

   9. Plaintiffs Daniel and Lisa Sheley are parishioners of St. Mary’s. They currently have a

four-year-old enrolled at St. Mary’s preschool. Tr. (Day 1, Sheley) 97:14-17, 98:2-10, 98:18-20,
99:4-6. The Sheleys also have a three-year-old at St. Mary’s preschool and a one-year-old who

they plan to send to St. Mary’s once she is old enough. Id. at 99:10-14.

   10. The Catholic Church teaches that “Catholic parents have a duty to provide a Catholic edu-

cation for their children.” Tr. (Day 1, Chilelli) 55:8-9.

   11. The Sheleys believe that it is their “directive as Catholics” to provide their children with a

Catholic education and that “as Catholics, [faith formation is] something that’s very important.”

Tr. (Day 1, Sheley) 99:1-3, 100:5-7. This is why the Sheleys send their four-year-old to St. Mary’s.

Id. at 99:1-100:14. Because they have chosen a Catholic preschool rather than a secular one, the

Sheleys are losing out on 15 hours of free preschool every week, which is costing them roughly

$4,700 this school year. Id. at 100:14-101:9.

D. The Archdiocese’s religious guidance and directives for Plaintiff preschools

   12. Archdiocesan preschools, including St. Mary’s and Wellspring, are bound to follow the

Archdiocese’s religious teachings and guidance, especially on matters of faith and morals.

Tr. (Day 1, Chilelli) 38:4-20; Tr. (Day 1, Seul) 73:13-24; Tr. (Day 1, Coats) 105:9-12; Ex. 1 at 1.

   13. As relevant to this case, the Catholic Church’s teachings on marriage and sexuality flow

from beliefs about “Christian anthropology.” Tr. (Day 1, Coats) 119:13-19. In particular, the Arch-

diocese believes and teaches “that human beings were created by a loving creator, God, … that the

human person is endowed, created, not only with a soul, but with a body, and that the body-soul



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unity is the makeup of the human person,” which “communicates” human beings’ “identity.” Tr.

(Day 1, Chilelli) 47:13-48:2. Accordingly, “being a biological man or a woman is of great im-

portance and reverence.” Id. at 48:3-4. And because of this, “the church has a particular under-

standing of marriage as being between a man and a woman, given the biological realities of the

body, and the way that the body is ordered towards unity with one another and the procreation of

children.” Id. at 47:13-48:12; see Tr. (Day 1, Coats) 127:8-11.

   14. The Archdiocese also teaches that “the Church is obligated to equip the faithful with an
understanding of God’s creation of the world, the nature of the human person, the importance of

human sexuality, and the grace and virtue needed to be truly alive and happy on our way to eternal

life,” Ex. 7 at 5, and that “Catholic schools in particular need to implement policies that are con-

sonant with Christian anthropology’s view of the person,” Ex. 5 at 4.

   15. In accordance with these teachings, the Archdiocese, through its Office of Catholic Schools,

has provided extensive guidance to its schools, teachers, and families—most fully set out in an

eighteen-page document titled Guidance for Issues Concerning the Human Person and Sexual

Identity. Ex. 5. This document explains the Church’s teachings regarding gender, sexuality, and

personhood, and provides practical guidance on how Catholic schools should implement these

teachings. See Tr. (Day 1, Chilelli) 48:20-54:23; Ex. 5; Ex. 7 at 5. Plaintiff preschools follow this

guidance in operating their preschools. Tr. (Day 1, Seul) 80:6-15; Tr. (Day 1, Coats) 112:15-113:4.

   16. As this guidance makes clear, “[s]ituations involving individuals should be addressed with

pastoral care that is rooted in love and concern for the person; pastoral care recognizes God’s call

to every baptized person to share in his eternal life and to follow the moral law as the way to

happiness. ‘A person’s discomfort with his or her sex, or the desire to be identified as the other

sex, is a complicated reality that needs to be addressed with sensitivity and truth. Each person

deserves to be heard and treated with respect; it is our responsibility to respond to their concerns

with compassion, mercy and honesty.’” Ex. 5 at 3.



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   17. Also, in accordance with this guidance, Archdiocesan schools (including Plaintiff pre-

schools) must use pronouns that correspond with biological sex, enforce dress code expectations

corresponding to biological sex, and make changing and bathroom facilities available only in cor-

respondence with biological sex. See Tr. (Day 1, Chilelli) 53:9-54:23; Tr. (Day 1, Seul) 80:6-15;

Tr. (Day 1, Coats) 112:20-113:4, 120:1-6; Ex. 5 at 2, 9-12.

   18. This guidance is just one example of how the Archdiocese’s Office of Catholic Schools

helps to advance its religious educational mission at Archdiocesan schools, including at St. Mary’s
and Wellspring. Tr. (Day 1, Chilelli) 38:18-39:8, 42:1-16. Others include:
       •   Providing Archdiocesan schools with an Administrators’ Manual that gives guidance
           on their day-to-day operations in their role as Catholic schools within the Archdiocese.
           See id. at 39:9-40:6; Ex. 1.
       •   Requiring all Archdiocesan schools to have staff sign a “Statement of Community Be-
           lief” when entering into employment contracts. See Tr. (Day 1, Chilelli) 42:5-16,
           43:21-45:14; Tr. (Day 1, Seul) 75:10-25; Tr. (Day 1, Coats) 105:18-25; Ex. 2.
       •   Requiring Archdiocesan schools to use Archdiocese-approved employment contracts
           for all staff (including preschool teachers). See Tr. (Day 1, Chilelli) 42:10-13, 45:18-
           25, 46:11-25; Tr. (Day 1, Coats) 105:18-25; Ex. 6.
       •   Providing courses of study and curriculum guides for mandatory use in Archdiocesan
           schools. Tr. (Day 1, Chilelli) 42:17-43:20; Tr. (Day 1, Coats) 119:15-19; Ex. 9.
       •   Adopting a code of conduct which all Archdiocesan employees and employees of Arch-
           diocesan schools are required to sign. See Tr. (Day 1, Chilelli) 45:21-46:10; Tr. (Day
           1, Coats) 105:18-106:8; Ex. 4.
       •   Providing ongoing tools and guidance to Archdiocesan schools as they carry out their
           religious mission. Tr. (Day 1, Chilelli) 48:20-54:23; Tr. (Day 1, Seul) 73:13-24, 93:19-
           22; Tr. (Day 1, Coats) 125:4-9; Ex. 5; Ex. 7 at 5.
E. Plaintiff preschools’ religiously mandated employment policies
   19. St. Mary’s, Wellspring, and the Archdiocese believe that Catholic preschools can fulfill

their religious mission only if those who lead their community are properly formed in the Catholic

faith and only if those who make up the community are open and receptive to the teaching of the

faith. Tr. (Day 1, Chilelli) 45:4-14; Tr. (Day 1, Seul) 74:6-76:15; Tr. (Day 1, Coats) 106:15-107:1,

107:21-23, 108:11-16.


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   20. Accordingly, the Archdiocese requires that those who teach and pass on the Catholic faith,

including all preschool teachers, “live in such a way that would promote the church’s teachings.

We ask them to unabashedly defend the church’s teachings, … and at the bare minimum to never

live in a manner contrary to church teaching that would cause confusion about the reputation of

the school and what it teaches.” Tr. (Day 1, Chilelli) 45:9-14; see, e.g., Ex. 6 at ¶ 5(c).

   21. Teachers, faculty, and staff, including at Plaintiff preschools, must therefore agree to the

Archdiocese’s Statement of Community Beliefs (laying out the Archdiocese’s vision for how ed-

ucators and families can participate in the Catholic school community) and the Archdiocesan Code

of Conduct when they sign their contracts. Tr. (Day 1, Chilelli) 45:15-25; Tr. (Day 1, Seul) 75:14-

25; Tr. (Day 1, Coats) 105:22-25; Ex. 2; Ex. 4; Ex. 6 at 2, 4.
   22. The Archdiocese also requires all teachers at its Catholic schools, including preschool

teachers, to have a provisional catechetical certificate, certifying that they are thoroughly trained

in catechesis, which is the teaching of the faith. Tr. (Day 1, Chilelli) 40:16-19.

   23. St. Mary’s further requires that its teachers be Catholic. Tr. (Day 1, Seul) 76:1-3. Well-

spring, in turn, requires that all its teachers (even non-Catholics) uphold the values and beliefs of

the Catholic Church. Tr. (Day 1, Coats) 107:21-23.

   24. At St. Mary’s and Wellspring, preschool teachers are responsible for incorporating faith

throughout the curriculum and for modeling faithful behavior in their own actions. Tr. (Day 1,

Seul) 74:17-75:9; Tr. (Day 1, Coats) 107:21-23, 119:4-12. To facilitate this, both St. Mary’s and

Wellspring offer opportunities for teachers to grow in their own faith. Tr. (Day 1, Seul) 76:16-22;

Tr. (Day 1, Coats) 107:6-20, 108:1-7.

   25. While non-teaching staff at both Plaintiff preschools are not required to be Catholic, they

“need to be supportive of our beliefs, and … understand and [be] supportive of our teaching and

theology.” Tr. (Day 1, Seul) 76:10-15; see Tr. (Day 1, Coats) 108:11-16, 116:12-18.




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F. Plaintiff preschools’ religiously mandated student enrollment policies
     26. St. Mary’s, Wellspring, and the Archdiocese believe that the mission of Catholic schools

is to partner with parents to nurture the distinctly Catholic education of their children. Tr. (Day 1,

Chilelli) 41:14-20, 51:13-14; Tr. (Day 1, Seul) 81:18-22, 82:13-83:18; Tr. (Day 1, Coats) 111:4-

9; Ex. 2 at 7-8; Ex. 17 at 7 ¶ 2; Ex. 18 at 3874.

     27. The Archdiocese’s schools “can’t fulfill [their] mission without that partnership” or with-

out parents “understanding the mission of [the] schools and desiring it.” Tr. (Day 1, Chilelli) 55:21-
25. It is therefore important that parents “[d]esir[e] to teach [a Catholic worldview] within their

family, to promote it, to defend it, and have their children formed in [it].” Id. at 55:21-25; see also

id. at 55:1-25; Tr. (Day 1, Seul) 78:16-21, 82:15-18; Tr. (Day 1, Coats) 111:4-9. Accordingly,

families who send their children to St. Mary’s and Wellspring must support and uphold the teach-

ings of the Church. Tr. (Day 1, Seul) 82:1-6; Tr. (Day 1, Coats) 112:17-19, 116:12-18.

     28. Plaintiffs believe that when what is being taught in the classroom conflicts with the educa-

tion and example in the home, this conflict can undermine a Catholic school’s mission. Tr. (Day

1, Chilelli) 51:13-20; Tr. (Day 1, Seul) 78:22-79:10, 83:11-18; Tr. (Day 1, Coats) 114:2-13, 126:2-

5.

     29. Accordingly, the Archdiocese instructs its schools (including its preschools) to have par-

ents sign the Statement of Community Beliefs at the time of enrollment “so that it’s abundantly

clear what the Catholic school will teach and what the Catholic school community believes.”

Tr. (Day 1, Chilelli) 44:18-23; Tr. (Day 1, Seul) 75:19-25, 79:13-24; Ex. 2 at 7-8; see also Tr.

(Day 1, Coats) 111:12-112:12; Ex. 15; Ex. 16. The Statement makes clear that families are ex-

pected to “understand and display a positive and supportive attitude toward the Catholic Church,

her teachings, her work, and the mission of the Catholic school,” “to recognize, respect, and bear

witness to the Catholic identity of the school,” and to “refrain from public promotion or approval




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of any conduct or lifestyle that would discredit, disgrace, or bring scandal to the School … or be

considered a counter-witness to Catholic doctrine or morals.” Ex. 2 at 8.

   30. The Archdiocese defines a “parishioner” of a Catholic parish to include any baptized Cath-

olic residing within the geographic boundaries of that parish. Tr. (Day 1, Chilelli) 67:9-15. Being

a parishioner does not necessarily indicate alignment or agreement with the above requirements

for enrollment at a Catholic school. Id. at 68:13-22.

   31. Plaintiff preschools and the Archdiocese also believe that they must carefully consider
whether enrolling students or families who oppose Catholic teachings in word or deed will create

intractable conflicts that hinder the school’s mission and disrupt family life. See Tr. (Day 1,

Chilelli) 51:13-20, 52:3-53:2, 68:13-22; Tr. (Day 1, Seul) 78:22-79:10; Tr. (Day 1, Coats) 114:2-

13, 125:4-9, 126:2-5; Ex. 5 at 6, 15.

   32. Specifically, if a prospective student or family is presenting themselves as living in a sexual

relationship inconsistent with how the Catholic Church understands human sexuality, the Archdi-

ocese requires that its preschools discuss the Church’s teachings on human sexuality with the fam-

ily, assess whether these teachings “may cause confusion for the child,” and then determine if it

“would be difficult for the child to hear [these teachings] from the school, especially if that’s not

what they hear from their parents.” Tr. (Day 1, Chilelli) 51:3-12. “[B]ecause the school’s mission

is to serve the parents in their education of their children, [the school] would never want

to … cause conflict with what the parents are teaching in their home;” so enrollment would not be

possible “given the confusion it would create for the child and the family.” Id. at 40:18-51:22; see

also Ex. 5 at 14-16.

   33. Similarly, if a family seeks to enroll a child who asserts a gender identity at odds with the

child’s biological sex (something which hasn’t happened at either Plaintiff preschool), the Arch-

diocese requires that its preschools explain to the parents that the school adheres to and teaches

Catholic theology on the good of the body’s biological reality and make clear that if the parents



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are affirming or teaching a contrary belief or perspective, this will create conflict for the child. If

this conflict exists, then “out of abundant respect for the family,” the school cannot enroll that

child. Tr. (Day 1, Chilelli) 52:3-53:2; see also Ex. 5 at 5-9.

   34. Accordingly, Archdiocesan schools have at times had to make the difficult decision to help

a family find alternative options rather than enrolling at a Catholic school when they determine

that admitting that family would cause conflict and confusion within the school and the family. Tr.

(Day 1, Coats) 114:2-13. Indeed, in 2023, a same-sex couple inquired about enrolling their fifth
grader at Wellspring. Id. at 113:5-11, 114:2-13. The parents were interested in Wellspring because

their fifth-grader’s previous school had instituted unisex bathrooms, which left them “quite ap-

palled” and “upset” because they “did not want their daughter exposed to this.” Id. at 125:15-23.

After meeting with the parents, Ms. Coats (the school’s principal) consulted with Wellspring’s

pastor and the Archdiocese about the possibility of admitting the student. Id. at 125:7-9. They

ultimately determined that admitting this student would “create an intrafamily conflict and cause

confusion for the family” given the school’s adherence to the Catholic Church’s teachings on

same-sex relationships. Id. at 114:2-13, 125:4-9, 126:2-5. Thus, Wellspring informed the parents

that it could not admit their fifth-grade student; in response, the parents “were understanding” and

“very kind.” Id. at 125:24-126:12.

   35. While this has happened with respect to a student seeking enrollment in fifth grade, to date

neither of the Plaintiff preschools has knowingly received an inquiry from same-sex parents or

from an LGBTQ child seeking to enroll. Tr. (Day 1, Seul) 80:16-81:2; Tr. (Day 1, Coats) 114:19-

115:10, 126:13-19. And neither has enrolled an LGBTQ student. Id.

   36. Moreover, as both sides agree, neither Plaintiff preschool has ever received a complaint

from an LGBTQ family or other persons alleging LGBTQ-based discrimination. Tr. (Day 1, Seul)

81:3-5; Tr. (Day 1, Coats) 115:11-13; Tr. (Day 2, Odean) 264:1-265:9; see also Ex. 39 ¶ 24; Tr.

(Day 3, Burne) 407:4-7; 446:22-447:10. Similarly, not one of the other 34 licensed preschools



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affiliated with the Archdiocese has any history of such complaints. Tr. (Day 1, Chilelli) 69:7-11;

Tr. (Day 2, Odean) 264:1-265:9; see also Ex. 39 ¶ 21.

    37. Plaintiff preschools also have admissions priorities (which they employ when there is a

waitlist) that stem from their religious obligation to help Catholic families provide their children

with a Catholic education. Tr. (Day 1, Chilelli) 55:1-11; Tr. (Day 1, Seul) 81:6-22; Tr. (Day 1,

Coats) 115:22-116:5. For Plaintiff preschools, this means they prioritize admissions in a particular

order: First, siblings of current students, then parishioners of their own parish, then Catholic fam-
ilies active in other Archdiocesan parishes and those Catholic families who have recently moved

into the area, and lastly, non-Catholic families. Tr. (Day 1, Chilelli) 55:1-11; Tr. (Day 1, Seul)

81:6-22; Tr. (Day 1, Coats) 115:22-116:5.

    38. When space is available, however, Archdiocesan schools welcome non-Catholics who “de-

sire[] the [C]hurch’s assistance in fulfilling their duties as parents” as an act of evangelization. Tr.

(Day 1, Chilelli) 68:1-12; see also Tr. (Day 1, Coats) 117:18-25. Both St. Mary and Wellspring

enroll non-Catholic families in their preschools. Tr. (Day 1, Coats) 116:19-21; Tr. (Day 1, Seul)

81:23-82:12.

G. UPK Colorado

    39. In 2022, the Colorado General Assembly enacted a law establishing a system of state fund-

ing for “universal” preschool. Colo. Rev. Stat. §§ 26.5-4-201, et seq. (“the UPK statute”). The

program, which is administered by the newly created Department of Early Childhood, aims to

make some “preschool services” free for all Colorado children “regardless of their economic cir-

cumstances.” Id. §§ 26.5-4-202(1)(a)(V), 26.5-4-204(1)(a). The program is open to all licensed

childcare providers, private and public. Tr. (Day 1, Cooke) 143:24-144:7; Ex. 71 at 3-4 (defining

“Preschool provider”). As the Department’s witnesses emphasized at trial, it is “important that all

families ha[ve] equal access … to preschool programs of their choosing,” Tr. (Day 1, Cooke)




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142:25-143:1, and “that families ha[ve] a choice and … find that just-right provider … that best

m[eets] their family’s needs,” Tr. (Day 2, Odean) 185:19-22.

   40. The UPK statute therefore dictates that UPK Colorado use a mixed-delivery system. See

Colo. Rev. Stat. § 26.5-4-202(1)(a)(VI); Tr. (Day 2, Odean) 207:17-208:2. The goal of this system

is “to recruit and engage providers … of all types, school districts, center-based, home-based,

[and] faith-based,” Tr. (Day 1, Cooke) 147:23-25, so that the UPK program will “be as inclusive

as possible,” Tr. (Day 2, Odean) 196:22.
   41. UPK Colorado “provides a significant benefit for the families” that participate. Ex. 26 at

123:7-10; see also ECF No. 77-6 ¶ 39. For the 2023-24 school year, the Department reimburses

UPK providers for 15 hours of preschool per eligible child they enroll. Tr. (Day 2, Odean) 190:8-

9; Ex. 26 at 18:15-18. This funding may be used “only to pay the costs of providing preschool

services directly to eligible children enrolled by the” provider. Colo. Rev. Stat. § 26.5-4-208(5).

   42. “Faith-based providers have always been envisioned to be part of the mixed-delivery

model.” Tr. (Day 1, Cooke) 160:16-17. And the Department “wanted to … give families every

opportunity to seek a provider of their choosing, and that includes faith-based providers.” Id. at

160:19-22.

   43. UPK Colorado changes how participating preschools enroll families in their programs.

Previously, preschools had the ability to interview and determine whether to accept applicants into

their programs, but now, a family ordinarily enrolls directly in UPK Colorado, at which point the

Department matches their child with a preschool provider by algorithm. Ex. 26 at 18:2-25, 22:4-

19. The preschool may decline to enroll that child only if the preschool qualifies for a Department-

approved exception (discussed below). Id. at 23:13-23, 24:1-6, 29:23-30:8, 32:25-33:5, 79:9-16;

see also Tr. (Day 1, Cooke) 156:24-157:6; Tr. (Day 2, Odean) 255:9-18. More recently, the De-

partment has started allowing families to enroll by showing up at a preschool participating in UPK

Colorado and asking for a UPK application. Ex. 26 at 27:17-22, 29:23-30:8, 33:6-13. Even then,



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however, if the school “ha[s] an open seat available,” absent a Department-approved exception,

the school “can’t decline them.” Id. at 30:2-3; see also id. at 32:25-33:5.

H. The Equal Opportunity Mandate

    44. The UPK statute directs the Department to develop “quality standards” with which pre-

school providers must comply and establishes requirements that must be included in those stand-

ards. Colo. Rev. Stat. § 26.5-4-205(1)(a), (2). Among these is the Equal Opportunity Mandate (or

“Mandate”), which requires that “each preschool provider provide eligible children an equal op-
portunity to enroll and receive preschool services regardless of race, ethnicity, religious affiliation,

sexual orientation, gender identity, lack of housing, income level, or disability, as such character-

istics and circumstances apply to the child or the child’s family.” Id. § 26.5-4-205(2)(b); Tr. (Day

2, Odean) 246:9-13. The Mandate extends to a preschool’s operations, not just enrollment. Ex. 26

at 51:15-18; Colo. Rev. Stat. § 26.5-4-205(2)(b) (requiring “equal opportunity to enroll and receive

preschool services” (emphasis added)).

    45. The word “discrimination” does not appear anywhere in the text of the Mandate; instead,

it requires “that providers have to provide an equal opportunity to enroll … .” Tr. (Day 2, Odean)

254:1-7, 254:21-255:1 (emphasis added); see Colo. Rev. Stat. § 26.5-4-205(2)(b).

I. The Program Service Agreement and Paragraph 18(B)

    46. Preschools seeking to participate in UPK Colorado must sign a Program Service Agree-

ment (or “Agreement”). ECF No. 77-6 ¶¶ 46, 53 (admitting this fact); Ex. 13 (copy of Agreement);

Tr. (Day 1, Seul) 88:2-8; Tr. (Day 1, Cooke) 164:24-165:1; see also Ex. 26 at 71:11-72:2; Ex. 27

at 22:5-20. If a prospective provider cannot sign the Agreement, it cannot participate in UPK Col-

orado. Id. Once they sign the Agreement, participating providers appear in the Department’s Fam-

ily Search and Application portal, allowing families to apply to use UPK program funds at their

preschool. See Ex. 19; Ex. 26 at 24:14-24.




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   47. The Agreement includes a word-for-word recitation of the Mandate. Ex. 13 at 2; see Colo.

Rev. Stat. § 26.5-4-205(2)(b). In addition, Paragraph 18(B) of the Agreement forbids “discrimi-

nat[ion] against any person on the basis of … religion, … sexual orientation, [or] gender identity,”

Ex. 13 at 27 ¶ 18(B), and thus covers enrollment, hiring, and operational decisions made by pre-

school providers, Ex. 26 at 66:1-67:13, 69:12-15.

   48. The Department has three main ways to grant providers exceptions from the matching re-

quirements and quality standards: first, by temporarily permitting noncompliant providers to par-
ticipate while working toward compliance; second, by recognizing discretionary categorical ex-

ceptions; and third, by recognizing individualized exceptions. The first way, as explained below,

comes directly from the UPK statute. The second and third ways, by contrast, were created by the

Department in response to requests from preschool providers. See Tr. (Day 2, Odean) 216:22-

217:9, 272:2-6; Ex. 26 at 35:12-20, 79:17-25; 97:2-20.

J. Statutory authority

   49. The Department has statutory authority to grant exceptions from the quality standards. Spe-

cifically, if it is “necessary to ensure the availability of a mixed delivery system within a commu-

nity, the [D]epartment may allow a preschool provider that does not meet the quality standards to

participate in the preschool program for a limited time while working toward compliance with the

quality standards.” Colo. Rev. Stat. § 26.5-4-205(1)(b)(II). Still, “each preschool provider must

meet all quality standards relating to health and safety.” Id.; see Tr. (Day 2, Odean) 207:7-16.

K. Categorical exceptions

   50. In addition, the Department has exercised discretionary authority to create categories of

exceptions. Indeed, UPK Colorado’s official Provider Guide lists several “exception criteria” that

the Department has adopted. These criteria permit qualified preschools to either prefer or deny

proposed matches based on certain characteristics. Ex. 24 at 37; see Tr. (Day 1, Seul) 92:6-19; Tr.

(Day 1, Cooke) 155:13-23, 156:22-157:2. The criteria allow, among other things, “faith-based



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provider[s]” to prefer “families” who are “part of” their “congregation”; providers to “support

children with Individualized Education Plans (IEP)”; dual-language providers to “screen[]” pro-

gram participants; and “Head Start grantee” programs to require families to “meet additional fac-

tors to enroll.” Ex. 24 at 37. Providers have “an opportunity to review” the families they are

“matche[d]” with and “exercise a decline option if the match does not fit the preference that has

been granted to the provider.” Tr. (Day 1, Cooke) 156:25-157:2; see also Ex. 12 at 2 (“[F]aith-

based providers can … decline a match from a family that is not part of the congregation.”).
   51. As for the congregation exception, providers who qualify may require that families be ad-

herents to a specific faith and may reject matches of other faiths. Tr. (Day 2, Odean) 239:13-240:1.

For example, the Department interprets this exception to permit a school to limit admission to “all

Catholics” or “all Lutherans” “in a particular area” and thus to “reserve seats” accordingly. Id. The

Department allows preschools to self-select whether they are “faith-based” and does not verify

their selection. ECF No. 77-6 ¶ 60 (admitting this fact); see Tr. (Day 2, Odean) 275:23-276:6.

   52. As for the Head Start exception, providers who qualify may require that families satisfy

“income level qualifications.” Tr. (Day 1, Cooke) 171:7-10; see also Tr. (Day 2, Odean) 237:17-

238:5. And for the children-with-IEP exception, providers who qualify may reserve seats for chil-

dren with disabilities. Tr. (Day 1, Cooke) 171:11-17; Tr. (Day 2, Odean) 219:4-17, 238:6-11.

   53. The exception criteria listed in the Provider Guide are incorporated into the Department’s

current proposed rules. See Ex. 24 at 37; Ex. 71 at 7. The proposed rules also list three additional

criteria, including a broad catch-all exception that would permit providers to “grant[] preference

to an eligible child based on the child and/or family being a part of a specific community; having

specific competencies or interests; having a specific relationship to the provider or to the provider’s

employees, students, or their families; receiving certain public assistance benefits; or participating

in a specific activity.” Ex. 71 at 7. In addition to this catch-all, the proposed rule allows providers




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to employ enrollment preferences for “continuity-of-care for that child” and “in order to keep sib-

lings similarly located.” Id.

   54. Director Odean testified that under the proposed rules’ new catch-all exception, a preschool

provider could limit enrollment to only “gender-nonconforming children,” to “children of color

from historically underserved areas,” and to “child[ren] and/or famil[ies]” from the “LGBTQ com-

munity,” and exclude all other applicants. Tr. (Day 2, Odean) 244:15-246:8.

   55. These updates to the proposed rules were finalized on New Year’s Day and provided to
Plaintiffs’ counsel and the Court partway through the first day of trial. Tr. (Day 2, Odean) 240:18-

242:4. The updates also included a new provision (similar to language used in Denver Preschool

Program contracts) stating that “[n]othing in these rules shall be construed to affect an eligible

preschool provider’s right to engage in privately funded, inherently religious activity or affect the

independence of eligible preschool providers, including any rights protected by the Colorado and

U.S. Constitutions and applicable law.” Ex. 71 at 8. At trial, the Department claimed that this

proviso is not intended to “give an exception to” the Mandate and therefore “doesn’t change”

whether Plaintiff preschools’ “enrollment practices are allowed or not allowed under the UPK

program.” Tr. (Day 2, Odean) 268:12-269:3.

   56. After trial, the Department promulgated another new version of the proposed rules, but this

version does not materially alter any of the provisions relevant to this litigation. Compare, e.g.,

Draft Rules at 7 (§ 4.109(A)(10)), Colorado Department of Early Childhood (Jan. 8, 2024),

https://perma.cc/78FG-M3R6, with Ex. 71 at 7 (§ 4.109(A)(10)).

   57. There are multiple ways families are made aware of whether providers qualify for one of

these exception criteria. When a family browses preschool providers on the UPK Colorado portal,

the website shows that a provider has opted into one of the criteria. See Ex. 20; Tr. (Day 2, Odean)

263:15-25. Ms. Cooke also testified that the portal can prompt families to answer questions to

determine whether they meet those criteria. Tr. (Day 1, Cooke) 167:11-168:2.



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   58. The Department has permitted 1,091 preschools to use at least one exception criteria. Ex.

28 at 6 (Interrogatory No. 7); Ex. 30; Tr. (Day 2, Odean) 255:22-25. Indeed, Director Odean con-

firmed that it would be “really hard” to have “both a universal and a mixed delivery preschool

program if every provider had to accept every child matched to that provider.” Tr. (Day 2, Odean)

214:7-10.

L. Individualized exceptions

   59. Apart from the categorical exceptions, providers may also ask the Department for individ-
ualized exceptions if they need greater “flexibility … to meet their organizational requirements, or

[have] other unique situations.” Ex. 32; see Tr. (Day 2, Odean) 256:1-257:8; see also Ex. 26 at

91:15-21, 96:24-97:10, 98:10-24 (individualized-exception request process).

   60. The Department has created an online form for providers to submit these requests. See Ex.

31 (form); Tr. (Day 2, Odean) 256:5-14; see also Ex. 33 at 64-65. This form includes, as examples

of individualized exceptions, requests based on disability and sex: “i.e. My location only serves

teen moms enrolled at a neighboring high school; My location only serves children with specific

disabilities.” Ex. 31 at 55; see also Ex. 26 at 98:8-24 (Department could “potentially” allow pro-

vider to only serve teen moms but “I wouldn’t speculate.”); Tr. (Day 2, Odean) 256:15-25. The

Department has also granted numerous individualized exceptions. Ex. 34 (listing individualized

exception requests that were granted); Tr. (Day 1, Cooke) 173:21-174:8; Tr. (Day 2, Odean) 257:9-

23. For example, the Department has granted at least two requests permitting providers to admit

only “fully vaccinated” children. See Ex. 34 at 82-83; Tr. (Day 2, Odean) 257:16-19. The Depart-

ment continues to consider individualized exceptions under this process. Ex. 26 at 91:15-21.

   61. The Department’s proposed rulemaking states that “[i]n utilizing these programmatic pref-

erences, eligible preschool providers must still comply with” the Equal Opportunity Mandate. Ex.

71 at 8. And at trial, Director Odean repeatedly claimed that the Department cannot—via rulemak-

ing or discretionary exception—permit a school to act contrary to the Equal Opportunity Mandate.



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See, e.g., Tr. (Day 2, Odean) 206:22-207:6, 210:5-9, 268:21-24; see also Ex. 27 at 23:14-15 (Dr.

Roy: “I cannot provide an exemption against what the law says.”). Nevertheless, she also stated

that the Department viewed the enrollment preferences and exceptions described above (admit-

tedly permitting providers to deny an “equal opportunity to enroll” based on various protected

statuses) as consistent with and permitted by the UPK statute, including the Mandate. Tr. (Day 2,

Odean) 270:12-17.

M. UPK Colorado’s ongoing enrollment
      62. For the current 2023-2024 school year, the Department has matched, and continues to

match, families with preschools. Ex. 26 at 33:14-19, 35:12-20; see also Ex. 22. And it retains

discretion to perform additional matching cycles at any time. Ex. 26 at 35:25-36:15; see also id. at

27:15-22 (families can continue enrolling in UPK Colorado).

      63. Preschools, in turn, can sign up for UPK Colorado and start accepting matches at any time.

Tr. (Day 2, Odean) 237:2-4; Ex. 26 at 33:14-25. Preschools that enroll in UPK Colorado in the

middle of a school year can start receiving UPK funding for their current class of four-year-old

students once they complete the UPK enrollment process. Ex. 26 at 33:14-25, 36:24-37:4.

N. Plaintiffs’ interest in UPK Colorado

      64. When UPK Colorado was announced, the Plaintiff preschools initially planned to partici-

pate and were eager to do so. Tr. (Day 1, Seul) 89:12-24; Tr. (Day 1, Coats) 120:7-22. Wellspring’s

principal was “extremely excited” because “the majority of our families are low-income,” so “any

assistance that we [could] get” would have been “hugely helpful” to those families. Tr. (Day 1,

Coats) 120:16-22. St. Mary’s preschool director, Ms. Seul, “attended all of the UPK meetings that

[she] could that the State was putting on”; she also contacted the school’s local coordinating or-

ganization “to find out more about how the process was going to work.” Tr. (Day 1, Seul) 89:17-

24.




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   65. These preschools were disappointed to learn, however, that they could not participate. Tr.

(Day 1, Seul) 89:25-90:7; Tr. (Day 1, Coats) 120:20-22. As more details about the program re-

quirements emerged, the Archdiocese determined that its preschools could not—consistent with

Catholic beliefs—sign the Agreement or operate their preschools consistent with the UPK pro-

gram’s requirements. See Ex. 10; Tr. (Day 1, Chilelli) 56:7-58:23. The Archdiocese communicated

this directive to all 36 of its preschools on January 14, 2023. See Ex. 10; Tr. (Day 1, Chilelli)

56:23-57:5. As a result, neither of the Plaintiff preschools participates in UPK Colorado. Tr. (Day
1, Seul) 89:25-90:13; Tr. (Day 1, Coats) 120:23-121:8.

O. Conflicts between the Mandate and Plaintiff preschools’ beliefs

   66. The Equal Opportunity Mandate requires “provid[ing] eligible children an equal oppor-

tunity to enroll and receive preschool services regardless of,” among other things, “religious affil-

iation.” Ex. 13 at 2; see Colo. Rev. Stat. § 26.5-4-205(2)(b). Paragraph 18(B) of the Program Ser-

vice Agreement, in turn, forbids “discriminat[ion]” on the basis of “religion.” Ex. 13 at 27.

   67. The Mandate and Paragraph 18(B) therefore on their face prevent Plaintiff preschools from

preferring Catholic families in enrollment, even though the schools believe it is their religious

obligation to provide that preference. See Ex. 13 at 2, 27; Colo. Rev. Stat. § 26.5-4-205(2)(b); Tr.

(Day 1, Chilelli) 66:22-69:2; Tr. (Day 1, Seul) 81:9-17; Tr. (Day 1, Coats) 115:17-20; Tr. (Day 1,

Cooke) 169:20-24.

   68. The Mandate requires providing preschoolers an equal opportunity to enroll “regardless

of … sexual orientation[ and] gender identity.” Ex. 13 at 2; Colo. Rev. Stat. § 26.5-4-205(2)(b).

Paragraph 18(B) prohibits “discriminat[ion]” on these same bases. Ex. 13 at 27.

   69. The Mandate and Paragraph 18(B) therefore prohibit Plaintiff preschools from considering

whether a child or family is open to and supportive of the Catholic Church’s teachings—including

its teachings on human sexuality—or instead whether personal circumstances or actions would

create intractable conflicts with those teachings. See Tr. (Day 1, Chilelli) 49:6-54:23; Tr. (Day 1,



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Seul) 78:16-79:10, 82:1-9, 83:11-18; Tr. (Day 1, Coats) 113:5-8, 114:1-13, 116:12-18, 125:24-

126:10; Tr. (Day 1, Cooke) 169:23-24 (“If [a school’s] statement of faith is contrary to the equity

statement in law, then that would be problematic.”); Ex. 26 at 107:25-108:10. This at times requires

Plaintiff preschools to consider the asserted sexual orientation and gender identity of families and

children seeking a Catholic education. See Ex. 5 at 5-16 (Archdiocesan guidance on sexuality); Tr.

(Day 1, Seul) 80:6-15 (St. Mary’s follows this guidance); Tr. (Day 1, Coats) 112:20-113:4 (same

for Wellspring); see also Tr. (Day 1, Chilelli) 49:6-54:23; Tr. (Day 1, Seul) 82:1-9.
   70. Paragraph 18(B) also purports to regulate not only Plaintiff preschools’ enrollment and

provision of preschool services, but also their employment practices and policies. Ex. 13 at 27

(forbidding “discriminat[ion] against any person on the basis of … religion, … sexual orientation,

[and] gender identity”); see also Tr. (Day 1, Chilleli) 40:12-19, 45:4-47:9, 56:13-22; Tr. (Day 1,

Seul) 74:6-76:9; Tr. (Day 1, Coats) 105:13-106:8, 106:15-108:7, 108:11-16.

P. Attempts to secure a religious accommodation

   71. Because of these concerns, a coalition of religious preschool providers, including the Arch-

diocese, sent a letter requesting a religious accommodation from the State so that their schools

could participate in UPK Colorado. See Ex. 11; Tr. (Day 1, Chilelli) 59:1-8, 59:21-60:8. But De-

fendant Dr. Roy sent a response letter stating that the Department lacked the authority to provide

such an accommodation and denying the request. See Ex. 12; Tr. (Day 1, Chilelli) 59:6-8, 60:9-13.

Plaintiff preschools are therefore barred from participating in UPK Colorado in a way that is faith-

ful to and consistent with their religious beliefs. Ex. 27 at 27:8-28:9, 30:17-31:11.

   72. Following Dr. Roy’s denial of an accommodation, the Archdiocese continued to pursue

avenues for its preschools to participate consistent with their faith. For example, the Archdiocese

advised its preschools that they could “sign up as providers” in the UPK Colorado online portal

and “send back” the Program Service Agreement to the Department “unsigned” along “with a

letter explaining why we weren’t able to sign that user agreement.” Tr. (Day 1, Chilelli) 59:9-20;



                                                 26
see also Tr. (Day 1, Seul) 96:11-12; Tr. (Day 1, Coats) 121:9-16. By taking this fully optional

route, a preschool could ask the Department for permission to participate in UPK Colorado without

signing the Agreement (and thus not agreeing to the Mandate or Paragraph 18(B)). Tr. (Day 1,

Chilelli) 59:9-60:3. In the end, neither of the Plaintiff preschools pursued this option, which the

Archdiocese later reassessed. Tr. (Day 1, Seul) 95:25-96:7; Tr. (Day 1, Coats) 121:12-16, 123:13-

15. Indeed, Ms. Seul already “knew that the local coordinating organization wouldn’t accept” St.

Mary’s as a UPK provider if it did not sign the Agreement. Tr. (Day 1, Seul) 96:2-7; supra ¶ 46
(Department admitting providers must sign Agreement to participate). And regardless, the only

Archdiocesan preschool that attempted this option received no response from the Department. Tr.

(Day 1, Chilelli) 59:25-60:3.

Q. Participation in other government funding programs

    73. Plaintiff preschools have participated in other government-funded tuition-assistance pro-

grams (such as the Denver Preschool Program, or DPP, and the Colorado Child Care Assistance

Program, or CCCAP) when doing so does not conflict with their Catholic beliefs. Tr. (Day 1,

Chilelli) 60:25-65:13 (explaining the Archdiocese’s theological guidance that participation in

these programs is consistent with Catholic teachings); Tr. (Day 1, Seul) 87:24-89:5 (St. Mary’s

follows the Archdiocese’s guidance on participation in CCCAP); Tr. (Day 1, Coats) 117:1-20

(Wellspring follows the Archdiocese’s guidance on participation in DPP). This Court has found

that it is “not inconsistent for the Parishes to find the UPK Colorado requirements conflict with

their beliefs but those of the Denver Preschool Program” and the “CCCAP provision” “do not.”

ECF No. 99 at 15-16. 3

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    In addition, Catholic Charities, which is a “different ministr[y] within the Archdiocese of Den-
ver,” permits its Head Start programs to participate in UPK Colorado. Tr. (Day 1, Chilelli) 66:3-
14. Unlike that Archdiocese’s Catholic schools, these programs exist to provide “child care re-
sources” to low-income parents “as they go back to work,” not to provide a distinctly Catholic
“educational ministry ordered towards the formation of the human person” for families specifically
seeking a Catholic education for their children. See id. at 65:14-66:21.


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R. Effects of exclusion from UPK Colorado

   74. Exclusion from UPK Colorado has come at a cost. Starting with the Sheleys, they have

already lost out on 15 hours per week of free preschool, costing roughly $4,700 in tuition assistance

for their four-year-old enrolled at St. Mary’s preschool for this school year. Tr. (Day 1, Sheley)

100:25-101:3; see also Tr. (Day 1, Seul) 91:18-21. They also have a one-year-old whom they

intend to send to preschool at St. Mary’s, as well as a three-year-old already at St. Mary’s; for both

of these children, they will again lose out on UPK Colorado’s tuition assistance. Tr. (Day 1,
Sheley) 99:10-14.

   75. As for Plaintiff preschools, they have been unable to provide any families with the fifteen

hours of free preschool that the UPK program promises. Tr. (Day 1, Seul) 90:23-91:11, Tr. (Day

1, Coats) 121:17-22. This is particularly harmful for low-income families. Tr. (Day 1, Coats)

108:20-24, 120:16-22. It has also affected the schools’ ability to recruit families and compete with

preschools participating in UPK Colorado, which are able to offer 15 hours of completely free

preschool. Tr. (Day 1, Seul) 90:23-91:11. Indeed, prospective families have contacted both St.

Mary’s and Wellspring to inquire whether they are participating in UPK Colorado, and the pre-

schools have had to tell them that they cannot, after which some of the families have not applied.

Tr. (Day 1, Seul) 91:22-92:5; Tr. (Day 1, Coats) 121:23-122:1, 122:10-12. Finally, the preschools

have lost out on bonuses given to participating UPK providers. Tr. (Day 1, Seul) 91:12-17; Tr.

(Day 1, Coats) 121:19-22.

   76. If granted a religious accommodation, Plaintiff preschools would immediately seek to par-

ticipate in UPK Colorado. Tr. (Day 1, Seul) 92:22-25; Tr. (Day 1, Coats) 122:13-16.

S. Alleged harm to LGBTQ families

   77. None of the testimony or evidence presented at trial showed that LGBTQ students or fam-

ilies have been or would likely be harmed by Plaintiff preschools’ religious exercise.




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   78. None of the expert testimony or related evidence was probative of whether Plaintiff pre-

schools’ participation in UPK Colorado would increase or decrease the ability of LGBTQ families

to access preschool services in Denver. Tr. (Day 3, Tishelman) 396:13-22 (“I don’t know that I

can answer that question”); Tr. (Day 2, Goldberg) 304:23-305:4 (unaware of relevant evidence).

   79. Defendants’ expert Dr. Amy Tishelman stated that the research she relied on (about

transgender bullying, which she admitted was not an issue in this case) pertained to “older children”

and that she merely “presumed” it was “relevant to younger children as well.” Tr. (Day 2, Tishel-
man) 368:18-20; see also Tr. (Day 3, Tishelman) 379:13-19 (not able to identify whether any

examples were of preschool students), id. at 395:23-396:8 (agreeing her testimony regarding her

clinical work with young children was “anecdotal” and “may not be truly representative of the

experiences of families more broadly”), id. at 376:20-23, 378:4-8 (not aware of any research or

studies on preschool LGBTQ bullying or impact of denying enrollment at Catholic school); id. at

381:6-18 (confirming no evidence of any LGBTQ-related complaints or “adverse childhood expe-

riences” more generally at Plaintiff preschools).

   80. The only preschool- or enrollment-specific testimony—none of which was included in De-

fendants’ experts’ reports—was admittedly “speculative[]” and was based on anecdotal observa-

tions. Tr. (Day 2, Tishelman) 358:3-14; see generally Ex. 45, 47.

   81. Defendants’ other expert, Dr. Abbie Goldberg, could not identify any research suggesting

that allowing Plaintiff preschools to participate in UPK Colorado would make it harder for LGBTQ

families to access preschool services. Tr. (Day 2, Goldberg) 300:18-23.

   82. Even apart from Defendants’ experts, there was no evidence presented at trial showing how

Plaintiff preschools’ participation in UPK Colorado would make it harder for LGBTQ families to

access UPK Colorado’s free preschool services.




                                                29
                                   CONCLUSIONS OF LAW

   83. Currently before this Court are seven claims brought by Plaintiffs St. Mary Catholic Parish

in Littleton, St. Bernadette Catholic Parish in Lakewood, Lisa Sheley, and Daniel Sheley. Counts

I, IV, and V are brought by all of these Plaintiffs under the Free Exercise Clause alleging that the

Department’s exclusion of Plaintiff preschools from UPK Colorado is an exclusion based on reli-

gious character and exercise (Count I) and is not neutral and generally applicable (Counts IV and

V). Counts II and III, brought by the Plaintiff preschools, are for violations of the ministerial ex-

ception (Count II) and broader church autonomy doctrine (Count III). The Plaintiff preschools also

brought expressive association (Count VI) and the denominational favoritism (Count VII) claims

under the First Amendment. Each claim is addressed in turn below.

   84. This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, 1343, 2201 and

2202, and under 42 U.S.C. §§ 1983 and 1988.

   85. Before trial, this Court found that Plaintiff preschools and the Sheleys have standing based

on their loss of a generally available government benefit. ECF No. 99 at 14-19. The evidence at

trial confirmed the facts on which this Court relied and further demonstrated that these plaintiffs

have standing. See Tr. (Day 1, Chilelli) 66:22-69:2 (congregation exception does not resolve the

conflict between Plaintiff preschools’ religious beliefs and the UPK requirements); id. at 61:2-

65:13 (Archdiocese does not understand DPP and CCCAP agreements to impose same religious

conflicts and are willing to terminate participation if incorrect); Tr. (Day 1, Seul) 88:20-25 (same

for St. Mary’s); Tr. (Day 1, Coats) 117:12-20 (same for Wellspring); Ex. 26 at 33:14-19, 35:12-20

(UPK Colorado is operational today and providers can still join for the 2023-24 school year); Tr.

(Day 1, Seul) 90:23-92:5, 92:22-25 (St. Mary’s harmed by exclusion); Tr. (Day 1, Sheley) 100:14-

101:9 (same for Sheleys); Tr. (Day 1, Coats) 121:17-122:16 (same for Wellspring); Tr. (Day 1,

Seul) 92:22-25 (St. Mary’s would immediately seek to participate in UPK Colorado if granted

religious accommodation); Tr. (Day 1, Coats) 122:13-16 (same for Wellspring).



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   86. While Plaintiffs maintain that the Archdiocese of Denver has both organizational and as-

sociational standing, they recognize that, having been dismissed from the case, the Archdiocese

was not a party at trial. ECF No. 99 at 19-22; ECF No. 65 at 7. Plaintiffs therefore do not reassert

standing or merits arguments regarding the Archdiocese here.

I. Free Exercise Clause

   87. UPK Colorado’s exclusion of Plaintiff preschools triggers strict scrutiny under the Free

Exercise Clause and fails that stringent test. Strict scrutiny is required under the Free Exercise
Clause for at least four reasons: first, because the exclusion is based solely on Plaintiff preschools’

religious character and exercise in violation of the rule in Carson; second, because the Department

recognizes categorical exceptions permitting other preschool providers to engage in similar con-

duct for secular reasons, violating the rule in Tandon and Kennedy; third, because the Department

has reserved the authority to carve out, and has carved out, individualized exceptions from the

Mandate in violation of the rule in Fulton; and fourth, because the Department’s implementation

of UPK Colorado is not neutral, violating the rule in Lukumi and Masterpiece.

   A.    Exclusion based on religious character and exercise (Count I)

   88. The rule coming out of the Supreme Court’s cases dealing with religious funding exclu-

sions is straightforward. As Espinoza explained: “disqualifying otherwise eligible recipients from

a public benefit ‘solely because of their religious character’ imposes ‘a penalty on the free exercise

of religion that triggers the most exacting scrutiny.’” Espinoza v. Montana Dep’t of Revenue, 140

S. Ct. 2246, 2255 (2020). And as the Court then clarified in Carson, “denying the benefit based

on a recipient’s religious exercise” triggers the same strict scrutiny. Carson v. Makin, 596 U.S.

767, 785 (2022) (emphasis added).

   89. Rather than follow Carson, Defendants urge this Court to rely on Employment Division v.

Smith, a thirty-year-old case about a criminal prohibition on peyote use. ECF No. 77 at 8, 12 (citing

494 U.S. 872 (1990)). But the Supreme Court has already told courts how to assess rules excluding



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religious schools from public benefits: apply the Court’s benefits-exclusion cases—don’t apply

Smith. Indeed, Carson didn’t even cite Smith, instead relying on other public-benefits cases like

Sherbert v. Verner and Thomas v. Review Board. See Carson, 596 U.S. at 778. 4

    90. Carson thus reaffirmed a longstanding Free Exercise rule distinct from Smith’s framework:

that exclusion from a public benefit on account of one’s religious exercise “violates the Free Ex-

ercise Clause.” Id. at 778; see Sherbert v. Verner, 374 U.S. 398, 404 (1963) (“It is too late in the

day to doubt that the liberties of religion and expression may be infringed by the denial of or

placing of conditions upon a benefit or privilege.”); Everson v. Board of Educ., 330 U.S. 1, 16

(1947) (same); Thomas v. Review Bd., 450 U.S. 707, 716 (1981) (same).

    91. This case fits squarely within that line of precedent. Colorado offers a generally available

public benefit: “universal” preschool funding. Tr. (Day 2, Odean) 190:7-14. But it excludes Plain-

tiff preschools based solely on their religious character and exercise—that is, requiring those who

attend their schools to be open to and supportive of the Catholic Church’s teachings, and operating




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    This Court previously suggested that Carson requires a finding of “non-neutrality.” See ECF
No. 99 at 25 n.8. But denial of a government benefit on account of one’s religious exercise itself
is not neutral. Carson, 596 U.S. at 781 (“Justice Breyer stresses the importance of ‘government
neutrality’ when it comes to religious matters, but there is nothing neutral about Maine’s pro-
gram.”) (internal citation omitted). As Justice Souter explained in his concurrence in Lukumi, there
are at least two types of neutrality: “what might be called formal neutrality, which as a free-exer-
cise requirement would only bar laws with an object to discriminate against religion, [and] what
might be called substantive neutrality, which, in addition to demanding a secular object, would
generally require government to accommodate religious differences by exempting religious prac-
tices from formally neutral laws.” Church of Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S.
520, 561-62 (1993) (Souter, J., concurring); see also Douglas Laycock, Formal, Substantive, and
Disaggregated Neutrality Toward Religion, 39 DePaul L. Rev. 993, 1001 (1990) (“[S]ubstantive
neutrality … require[s] government to minimize the extent to which it either encourages or dis-
courages religious belief or disbelief, practice or nonpractice, observance or nonobservance.”).
Here, by universally subsidizing preschool services but excluding Plaintiff preschools, the Depart-
ment has discouraged religious exercise and thus has not acted with substantive neutrality.


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their schools according to those teachings. Supra ¶ 26-29, 31-36, 68-69. “Conditioning the avail-

ability of benefits in that manner … effectively penalizes the free exercise of religion.” Carson,

596 U.S. at 780 (cleaned up).

   92. It does not matter that Colorado here excludes preschools based on their religious exercise

(those who do Catholic things need not apply) rather than religious status (“Catholics” need not

apply). Carson clarified that while Trinity Lutheran and Espinoza happened to confront exclusions

based on “religious status and not religious use,” “such a distinction” is immaterial. Carson, 596
U.S. at 786. In Carson, Maine insisted that it was denying participation not because of the schools’

religious status, but because of their religious conduct. Id. at 775, 786-89. But the Court confirmed

that even if the denial were “based on a recipient’s religious exercise,” not status, it wouldn’t

matter; the First Amendment “prohibit[s] … denying the benefit” on that basis, too. Id. at 785

(emphasis added).

   93. Defendants similarly claim Carson is different because plaintiffs there were “facially ex-

cluded … solely because th[ey] were religious.” ECF No. 77 at 8 (emphasis in original). But Maine

made the same argument in Carson, insisting that its exclusion was not based on the schools’

religious identity but instead on the things they did: “a school is excluded only if it promotes a

particular faith and presents academic material through the lens of that faith.” 596 U.S. at 775,

786-88. Even accepting Maine’s characterization, the Court held it unconstitutional. Id. at 785,

789. What matters is who is excluded—not how the government phrases the exclusion.

   94. Carson’s rule is essential because benefit exclusions put a governmental “thumb on the

scale” against religion, Espinoza, 140 S. Ct. at 2278 (Gorsuch, J., concurring), incentivizing reli-

gious organizations to abandon or alter their religious exercise to “compete with secular” counter-

parts, Trinity Lutheran, 582 U.S. at 463. This increase in the relative cost of exercising religion

requires a compelling justification. See Carson, 596 U.S. at 781.




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   95. Indeed, it is difficult to imagine a case that more clearly implicates that rationale than this

one. The Department has effectively imposed a special tax on religious preschools, whereby fam-

ilies who send their children to Catholic preschools continue to pay full freight, while families who

send their children to over 2,000 other Colorado preschools receive 15 hours of free instruction

per week. Tr. (Day 2, Odean) 190:8-14; 236:21-23; cf. Rosenberger v. Rector & Visitors of Univ.

of Va., 515 U.S. 819, 859 (1995) (Thomas, J., concurring) (“A tax exemption in many cases is

economically and functionally indistinguishable from a direct monetary subsidy.”). This puts Cath-
olic families—including Plaintiff parents—to an agonizing choice: either follow your faith and

foot the bill or contradict your beliefs and let the State write the check. Tr. (Day 1, Sheley) 99:23-

101:9. This conflict is especially agonizing for the many low-income and English-as-a-Second-

Language families at Catholic preschools like Wellspring. See Tr. (Day 1, Coats) 108:21-109:8.

   96. It is therefore no surprise that Judge Domenico already ruled in the parallel Darren Patter-

son litigation that many of the same UPK Colorado conditions at issue here likely violated the Free

Exercise Clause under Carson. See Darren Patterson Christian Acad. v. Roy, No. 1:23-cv-01557,

2023 WL 7270874, at *15 (D. Colo. Oct. 20, 2023).

   97. In short, Colorado didn’t have to subsidize private preschools. But having done so, “it can-

not disqualify some private schools solely because they are religious”—or because they engage in

religious exercise. Espinoza, 140 S. Ct. at 2261; see Carson, 596 U.S. at 784-88; see also Pryor v.

Sch. Dist. No. 1, No. 1:22-cv-2886, 2022 WL 18145414, at *1 (D. Colo. Dec. 23, 2022) (Kane, J.)

(“The government may not deny a benefit to a person on a basis that infringes his constitutionally

protected interests … [,] even though the person has no right to the valuable governmental bene-

fit[.]” (quoting Seamons v. Snow, 84 F.3d 1226, 1236 (10th Cir. 1996))); Koontz v. St. Johns River

Water Mgmt. Dist., 570 U.S. 595, 604 (2013) (same). Defendants’ actions therefore trigger strict

scrutiny.




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    B.   Lack of neutrality and general applicability (Count IV & V)

    98. Carson aside, Defendants’ exclusion of Plaintiff preschools still triggers strict scrutiny.

Under Smith, strict scrutiny applies when the government “burden[s] [the plaintiff’s] sincere reli-

gious practice pursuant to a policy that is not ‘neutral’ or ‘generally applicable.’” Kennedy v.

Bremerton Sch. Dist., 597 U.S. 507, 525 (2022). Defendants fail both halves of this test.

         1. General applicability—categorical exceptions

    99. Beginning with the second half, there are multiple ways of showing that a religion-burden-
ing action is not generally applicable. For one, a law “lacks general applicability if it prohibits

religious conduct while permitting secular conduct that undermines the government’s asserted in-

terests in a similar way.” Fulton v. City of Philadelphia, 141 S. Ct. 1868, 1877 (2021). In other

words, if the government recognizes “categorical exemption[s] for individuals with secular [rea-

sons to act] but not for individuals with … religious [reasons],” its actions are not generally appli-

cable. Fraternal Order of Police v. City of Newark, 170 F.3d 359, 365 (3d Cir. 1999) (Alito, J.);

see also Tandon v. Newsom, 593 U.S. 61, 62 (2021).

    100. “[W]hether … activities are comparable for purposes of the Free Exercise Clause must

be judged against the asserted government interest.” Tandon, 593 U.S. at 62. Here, Defendants

have vacillated between interests—sometimes claiming their interest is in requiring participating

providers to offer “unfiltered and unbiased access to all preschool families” via the matching pro-

cess, ECF No. 57-1 at 2 5; other times claiming it is a narrower interest specifically in preventing

“discrimination that violates the Program’s antidiscrimination provision,” i.e., the Equal Oppor-

tunity Mandate. ECF No. 77 at 15. Either way, they have permitted categorical exemptions under-

mining these interests.



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    See also, e.g., Tr. (Day 1, Cooke) 146:14-20 (“ensures that every child would have an oppor-
tunity to attend a preschool of their choosing”); Ex. 23 (Gov. Polis: “I think our focus has always
been: the kids first, of course no discrimination, serve everybody if you want … public funds[.]”).


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    101. On this point, the Ninth Circuit’s recent en banc decision Fellowship of Christian Ath-

letes v. San Jose Unified School District, 82 F.4th 664 (9th Cir. 2023), is instructive. There, a

school district refused to recognize a Christian student group because the group required its leaders

to agree with and abide by its belief that “sexual intimacy is designed only to be expressed within

the confines of a marriage between one man and one woman.” Id. at 671. In support, the school

district invoked two different interests—first, an interest “in ensuring equal access for all students

to all programs” (i.e., an “All-Comers policy”); and second, a narrower interest “in prohibiting
discrimination on protected enumerated bases, including sex, race, and ethnicity.” Id. at 689. The

Ninth Circuit held that neither was generally applicable. The school district allowed “groups to

select their members based on ‘good moral character’”—undermining the alleged “All-Comers

policy.” Id. at 689, 693. And as for the nondiscrimination interest, the district allowed some groups

(like the “Senior Women Club” and the “South Asian Heritage Club”) to maintain membership

criteria implicating “otherwise protected grounds” (like “sex and ethnicity”), undermining its pur-

ported interest in preventing exactly that type of discrimination. Id. at 688-89.

    102. Just so here. Consider first the “unfiltered … access” (or “serve everybody”) interest: the

Department has recognized ten different categorical “preferences” that permit preschool providers

to decline to accept all matches. Ex. 71 at 6-7; see also Tr. (Day 3, Defendants’ Closing) 478:1-

8. 6 Some of those exceptions allow providers to, for example, prefer siblings of current students,

children of employees, and “multilingual” children. Ex. 71 at 7. Others are of sweeping breadth—



6
    Seven of these preferences appeared in the UPK Colorado Provider Guide, issued at the outset
of the program. Ex. 24 at 37 (fourth preference later split into two preferences). Three additional
preferences (for siblings, continuity of case, and a catch-all provision) were formalized in the De-
partment’s proposed UPK regulations issued on January 1. Ex. 71; supra ¶ 56. Director Odean
also testified that the catch-all preference formalized and expanded on the exceptions already avail-
able through the individualized exception request form, see Ex. 31; see also infra ¶¶ 56, 59-60,
because the Department may not have “caught all of the preferences that would be helpful to honor
a mixed delivery system.” Tr. (Day 2, Odean) 228:19-229:20.


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for example, allowing providers to require all students or families to be “part of a specific com-

munity,” have “specific competencies or interests,” or “participat[e] in a specific activity.” Id. And

these preferences are not merely theoretical; at least 1,091 participating preschools—approxi-

mately half the total—have taken advantage of at least one of them (with some providers claiming

several). Ex. 28 at 6 (Interrogatory No. 7). That is the antithesis of a generally applicable policy—

and is far more than needed to trigger strict scrutiny. See Tandon, 593 U.S. at 62 (treating “any”

secular comparator better triggers strict scrutiny).
   103. Consider next Defendants’ interest in enforcing the terms of the Mandate: Even focusing

on that interest, Defendants’ exclusion of Plaintiff preschools is not generally applicable. That is

because several of the categorical preferences allow providers to exclude families based on char-

acteristics also covered by the Mandate. For example, although the Mandate requires providers to

offer an equal opportunity to enroll “regardless of race, … religious affiliation, sexual orientation,

gender identity, … income level, or disability,” Ex. 13 at 2, the categorical preferences allow:
       •   Head Start providers to screen applicants based on “income level,” Tr. (Day 1, Cooke)
           171:7-10; Tr. (Day 2, Odean) 237:14-238:5; Ex. 26 at 88:5-89:5;
       •   providers to serve only children with disabilities, Tr. (Day 2, Odean) 238:6-11; Ex. 26
           at 98:25-99:23;
       •   faith-based providers to reserve seats for members of their “congregation,” Tr. (Day 2,
           Odean) 238:12-14; Ex. 71 at 7;
       •   providers to (under the “specific community” preference) limit enrollment to “children
           of color from historically underserved areas,” Tr. (Day 2, Odean) 245:25-246:3; and
       •   providers to (also under the “specific community” preference) limit enrollment to “gen-
           der-nonconforming children,” and “the LGBTQ community,” Tr. (Day 2, Odean)
           244:22-25, 246:4-8.
By permitting providers to make exclusions based on a status protected by the Mandate, each of

these “exclusionary … requirements pose an identical risk to the [Department’s] stated interest”

in enforcing the Mandate—“render[ing] its decision” to exclude Plaintiff preschools “subject to

strict scrutiny.” Fellowship of Christian Athletes, 82 F.4th at 689-90.



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    104. At summary judgment, this Court explained how to assess these preferences: “[i]f that

preference allows providers to discriminate on the basis of a particular status enumerated in the

nondiscrimination requirements, that would support a finding that the associated nondiscrimina-

tion requirements are not generally applicable.” ECF No. 99 at 26.

    105. After trial, there is no doubt that this is so. For one, the congregation preference allows

providers to discriminate on the basis of “religious affiliation.” Ex. 13 at 2. That is indicated by

the plain language of the Department’s definition of “congregation,” which expressly hinges on
religion—saying a “congregation” “means a religious-based convocation” (or “convocations”) “of

individuals in a particular geographic area who share a common set of beliefs and who collectively

engage in conduct with a direct nexus to that shared common set of beliefs.” Ex. 71 at 2 (emphasis

added). And it was confirmed by Defendants’ testimony at trial: Director Odean acknowledged

that this preference would allow a Catholic provider to reserve seats for “Catholics,” and allow a

Lutheran provider to reserve seats for “Lutherans”—and indeed that a Catholic provider “wouldn’t

have to provide an opportunity to enroll to Lutherans.” Tr. (Day 2, Odean) 239:3-240:17. It is

impossible to understand this as anything other than a preference allowing faith-based providers

to provide unequal opportunities to enroll based on a family’s religious affiliation (e.g., Catholic

or Lutheran). See also Newland v. Sebelius, 881 F. Supp. 2d 1287, 1297 (D. Colo. 2012) (Kane,

J.) (exemption for some religious employers “undermined” effort to deny religious exemption to

plaintiff). 7

    106. Moreover, and even though this is not legally required, Plaintiffs can also point to excep-

tions relating to the particular characteristics that prohibit their actions—i.e., “sexual orientation”


7
    Indeed, while Defendants previously claimed that the congregation preference “[i]n actuality ...
privileges applicants with various ongoing relationships with specific provider communities,” ECF
No. 77 at 16, the Department has admitted that providers can define the geographic range of a
“congregation” as broadly as they choose (including the entire Archdiocese of Denver), undermin-
ing the claim that this is a preference based on anything other than religious affiliation. Tr. (Day
2, Odean) 227:15-18; Ex. 26 at 107:2-108:1.

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and “gender identity.” For one, another preschool sharing some of the same religiously motivated

practices regarding sexuality and gender identity has participated in UPK Colorado from the outset.

See Darren Patterson, 2023 WL 7270874, at *3 (Darren Patterson “mandat[es] sex-separated bath-

rooms and dress codes” and “forbids using pronouns that do not correspond to … biological sex”);

see also Tr. (Day 2, Odean) 265:15-22. Defendants are well aware of this—yet the Department

has never investigated that school and has instead declined to appeal a preliminary injunction per-

mitting the school to participate in UPK Colorado while maintaining these policies.
   107. Further, at trial, Director Odean testified that under the “specific community” preference,

a preschool could limit enrollment to gender-nonconforming children or members of the LGBTQ

community, Tr. (Day 2, Odean) 244:22-25, 246:4-8, 270:12-17; Ex. 71 at 7. In other words, pro-

viders who share the Department’s views on marriage and sexuality are free to condition access

based on sexual orientation and gender identity, but providers (such as Plaintiff preschools) who

disagree with the Department’s views are excluded. That is not a generally applicable policy.

   108. Defendants’ efforts to explain away these exceptions fail. First, Defendants claim that

none of these enrollment “preferences” allow a provider to disregard the requirements of the Equal

Opportunity Mandate. Tr. (Day 3, Defendants’ closing) 477:19-25; ECF No. 77 at 14-15. But—

regardless of how many times or how adamantly Defendants incant this position—the evidence at

trial, summarized above, confirmed the opposite. If, as Defendants admit, Catholic preschools can

completely deny Lutheran families enrollment in their schools, Tr. (Day 2, Odean) 239:8-240:1,

there is no question that this “preference” is also an exception from the Mandate’s equal-oppor-

tunity requirement, which requires the opposite: an equal opportunity to enroll regardless of “re-

ligious affiliation,” see Colo. Rev. Stat. § 26.5-4-205(2)(b). And Defendants admitted that pre-

schools can make enrollment decisions that turn on a wide variety of other protected characteristics.

See, e.g., Tr. (Day 2, Odean) 237:17-238:5 (income level), id. at 238:9-11 (disability), id. at

244:22-25 (gender-nonconforming children); see also supra ¶¶ 50-58. The preferences are not just



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part of the matching process—they allow UPK providers to make enrollment decisions that deviate

from the Equal Opportunity Mandate.

    109. Second, Defendants claim their carve-outs from the Mandate for low-income and disa-

bility-focused providers are justified because children served by such providers were “called out”

as a priority elsewhere in the statute, making these exceptions “supported by the statute’s objec-

tives,” Tr. (Day 1, Defendants’ Opening) 23:2-9, 24:3-23; see, e.g., Tr. (Day 2, Odean) 219:15-23,

220:6-16, not “violation[s] of the” Mandate, ECF No. 77 at 16-17, 19.
    110. But even if this were right (it is not), 8 it wouldn’t change the result. The income and

disability exceptions are both at least facially inconsistent with the Mandate. And while Defend-

ants are willing to interpret the Mandate flexibly to accommodate these providers, they insist on a

rigid interpretation of that Mandate to exclude Plaintiff preschools. That selective flexibility is

simply an extension of the lack of “evenhanded, across-the-board” treatment that Plaintiffs are

challenging in the first place. Kennedy, 597 U.S. at 526-27.

    111. Indeed, even if the income and disability exceptions were, by statute, explicitly excluded

from the Mandate (they aren’t), the result would still be the same. The statute is, of course, itself

subject to the First Amendment. See, e.g., Carson, 596 U.S. at 778. And Defendants’ ultimate


8
    Nothing in the UPK statute itself carves out disability and income-level exceptions from the
Mandate. Defendants note that the Legislature’s “objectives … include[d] serving” low-income
children and “children with disabilities,” ECF No. 77 at 16-18 (citing statutory provisions), but
that isn’t the same thing as allowing providers to provide unequal enrollment opportunities based
on these characteristics in violation of the Mandate. Likewise, even if the Legislature contemplated
that Head Start and disability-focused providers would participate in the program, that doesn’t
change the plain language of the Mandate; and it is “the provisions of … legislative commands
rather than the principal concerns of our legislators by which we are governed.” Bostock v. Clayton
County 140 S. Ct. 1731, 1749 (2020) (cleaned up); see also, e.g., Sturgeon v. Frost, 139 S. Ct.
1066, 1086 (2019) (“statements of purpose … by their nature cannot override a statute’s operative
language”) (cleaned up). If anything, as Defendants’ testimony in this case demonstrates, other-
wise-eligible “preschool providers” are subject to the quality standards and cannot participate un-
less they agree to abide by them. See Colo. Rev. Stat. § 26.5-4-203(14) (defining “Preschool pro-
vider” to include licensed child care centers like Plaintiff preschools).


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problem is that there is simply no neutral, compelling basis to distinguish between children and

families whose need for a unique educational environment is driven by their (say) disability and

those for whom it is driven by their faith. See Fraternal Order of Police, 170 F.3d at 365-66 (ex-

ception for disabled police officers to grow medically required beard rendered unconstitutional

refusal to allow Muslim police officers to grow religiously required beard); see also Michael W.

McConnell, Free Exercise Revisionism and the Smith Decision, 57 U. Chi. L. Rev. 1109, 1139-40

(1990) (explaining “analogy … between free exercise theory and the theory of handicap discrimi-
nation”; “the paradigmatic instance of” both “free exercise violations” and “handicap discrimina-

tion is treating people who are fundamentally different as if they were the same”). Indeed, in the

workplace context, federal law has long reflected this analogy, requiring accommodations for both

religion and disability and in exactly the same terms. Compare 42 U.S.C. § 2000e(j), 2000e-2(a)(1)

(Title VII, requiring employers to “reasonably accommodate” religion absent “undue hardship”)

with 42 U.S.C. § 12112(a), (b)(5)(A) (Americans with Disabilities Act, requiring employers to

make “reasonable accommodations” for disability absent “undue hardship”).

   112. What is more—even putting income and disability aside—Defendants’ argument here

says nothing at all about the preferences they’ve affirmed based on race, religious affiliation, sex-

ual orientation, and gender identity, which are not “called out” anywhere. Supra ¶¶ 50-51, 54.

   113. Defendants next claim that the preferences for providers aimed at low-income and disa-

bled children—and presumably also for those aimed at gender-nonconforming children and chil-

dren of color—are not “discrimination,” because they benefit groups “who historically have been

discriminated against.” Tr. (Day 2, Odean) 197:17-23, 222:1-5; see Tr. (Day 1, Defendants’ Open-

ing) 24:12-23. But for one thing, the Mandate does not mention “discrimination,” at all, much less

forbidding it only against those groups “who historically have been discriminated against.” Instead,




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it requires an “equal opportunity to enroll” any eligible child “regardless” of the listed character-

istics—period. Defendants cannot rewrite unambiguous state-law commands to gerrymander

Plaintiffs out.

    114. Moreover, the Fellowship of Christian Athletes defendant made the same argument—to

no avail. The school district there sought to “justify” its exceptions for groups like the Senior

Women Club and the South Asian Heritage Club “by asserting that they benefit ‘individuals who

need specific support from the school system’ and align with the District’s ‘equity policy.’”
82 F.4th at 688. But this didn’t change the result. “While inclusiveness is a worthy pursuit,” the

court held, “the District’s alleged good intentions do not change the fact that it is treating compa-

rable secular activity more favorably than religious exercise.” Id. at 687-88; see also id. at 693 (no

exceptions “for ‘benign’ discriminatory membership rules.”). So too here. By reinterpreting the

Mandate’s straightforward requirement of equal treatment as a flexible provision allow providers

to engage in admittedly unequal treatment based on values the Department deems important to

“ensure inclusion of diverse communities and fulfill the legislative intent of a ‘mixed delivery’

system,” the Department’s value-laden application of the Mandate is subject to strict scrutiny. ECF

No. 77 at 18. 9

    115. Contrary to Defendants’ suggestions at trial, Tr. (Day 1, Defendants’ Opening) 24:24-

25:18, Plaintiffs are not challenging the Department’s provision of any of these other preferences.

What they seek is for Defendants’ alleged inclusiveness to extend to them. Defendants have made

a value judgment that it’s more important for certain children to access UPK providers tailored to




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    Moreover, as many courts have acknowledged, Catholics have historically been discriminated
against, including in Colorado. See, e.g., Espinoza, 140 S. Ct. at 2259 (many provisions denying
aid to religious schools were “born of bigotry” and “arose at a time of pervasive hostility to the
Catholic Church and to Catholics in general”); see also id. at 2268-74 & n.20 (Alito, J., concurring)
(expanding on this history and citing Colorado provision).


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meeting their needs than it is for Catholic children whose families feel obliged to provide a Cath-

olic education to have that same benefit. See id. at 24:3-11 (populations served by preferenced

providers are ones “that especially benefit from access to preschool”). But when the government

“devalues religious reasons … by judging them to be of lesser import than nonreligious reasons,”

its actions “must undergo the most rigorous of scrutiny.” Lukumi, 508 U.S. at 537-38, 546. That is

this case.

             2. General applicability—individualized exceptions
    116. Defendants’ refusal to accommodate Plaintiff preschools also isn’t generally applicable

because Defendants have “a mechanism for individualized exemptions.” Fulton, 141 S. Ct. at 1877.

In Fulton, the Supreme Court applied strict scrutiny to Philadelphia’s effort to condition a Catholic

foster-care agency’s contract on the agency’s agreeing to certify same-sex couples as foster parents.

Id. at 1874, 1881-82. Although the city claimed the relevant nondiscrimination requirement ap-

plied to all agencies, the Court determined that the city in fact retained “discretion” to grant “indi-

vidual exemptions.” Id. at 1878-79. The city therefore could not refuse an exception to the Catholic

agency “without compelling reason.” Id. at 1878; see also, e.g., Axson-Flynn v. Johnson, 356 F.3d

1277, 1297 (10th Cir. 2004) (similarly requiring compelling interest).

    117. Here, it is undisputed that Defendants have discretion to make individualized exceptions

from the requirement that providers accept the children that are matched with them. Indeed, De-

fendants have an online form allowing providers to “Request[]” individualized “Exception[s].” Ex.

31. The form offers specific examples of exceptions providers might request, like “My location

only serves teen moms enrolled at a neighboring high school,” and “My location only serves chil-

dren with specific disabilities.” Id. at 55. And the record shows the Department considers these

requests on a case-by-case basis, and has granted several. See Ex. 34 at 82-83; see also, e.g., Ex.

26 at 91:15-21, 92:10-93:16, 96:19-97:20 (describing process); Tr. (Day 2, Odean) 257:9-23.




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   118. The Department asserts that exceptions under this process are not available if they would

violate the Mandate. ECF No. 77 at 21-22. But this theory founders on the form itself—indeed,

both the sample exception requests listed on the form (“teen moms,” “children with specific disa-

bilities”) implicate characteristics off-limits for consideration under the Mandate (“sex,” “disabil-

ity”). Ex. 31 at 55. And the mere discretion to grant these exceptions (confirmed by Defendants’

own form)—even if not exercised—triggers strict scrutiny. Fulton, 141 S. Ct. at 1879.

   119. In any event, even if Defendants’ unsupported assertion were true, Defendants nonethe-
less have explicit statutory discretion to grant exceptions from the Mandate. Specifically, “the

department may allow a preschool provider that does not meet the quality standards”—which in-

clude the Mandate—“to participate in the preschool program for a limited time while working

toward compliance.” Colo. Rev. Stat. § 26.5-4-205(1)(b)(II); see id. § 26.5-4-205(2). Defendants

claim they’ve never used this authority, but that is beside the point: “The creation of a formal

mechanism for granting exceptions renders a policy not generally applicable, regardless whether

any exceptions have been given, because it invites the government to decide which reasons for not

complying with the policy are worthy of solicitude.” Fulton, 141 S. Ct. at 1879 (cleaned up).

   120. Unable to deny this statutory discretion, Defendants now claim that the Mandate is a

“health and safety” regulation that is itself excepted from their statutory authority to grant excep-

tions. See Colo. Rev. Stat. § 26.5-4-205(1)(b)(II). But this theory has never appeared in any De-

partment guidance document, Tr. (Day 2, Odean) 247:12-248:13; rather, Defendants’ lawyers of-

fered it for the first time in response to Plaintiffs’ motion for summary judgment, see ECF No. 77

at 20-21 (filed Dec. 18, 2023). The UPK statute itself doesn’t identify the Mandate as being related

to “health and safety.” And the Mandate is, according to Director Odean, the only one of the twelve

quality standards listed in the UPK statute about which Defendants have made such a determina-

tion. Tr. (Day 2, Odean) 249:13-17; see Colo. Rev. Stat. § 26.5-4-205(2)(a)-(l).




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     121. The Court owes no deference to this made-for-litigation position—just as the Supreme

Court in Fulton did not defer to the city’s similarly self-serving effort to interpret its contract and

state law to eliminate, rather conveniently, its discretion to grant exceptions. 141 S. Ct. at 1879-

81; see also Nieto v. Clark’s Market, Inc., 488 P.3d 1140, 1149 (Colo. 2021) (declining to adopt

Chevron deference under state law). And Defendants’ theory fails on its merits: in ordinary usage,

“health and safety” surely refers to regulations of the conditions at the preschool for students who

are already there, rather than regulations that limit a school’s discretion to decide who can become
part of the school community.

     122. That is presumably why, in the Agreement, the Department distinguished between the

Mandate and “[q]uality standards relating to health and safety,” listing them as two distinct types

of “quality standards.” Ex. 13 at 2. And that is also presumably why the page entitled “Health and

Safety Requirements” on the Department’s own website makes no mention of enrollment stand-

ards, instead discussing items pertinent only to existing community members, like building hazards,

safety in transporting children, and the administration of medication and allergy-sensitive foods. 10

If anything, the Department’s last-minute scramble toward this “health and safety” explanation is

a tell: it underscores the lack of general applicability of its actions. Like the post-litigation policy

adopted in Fellowship of Christian Athletes, it “appears to be the type of post hoc justification” for

excluding Plaintiffs “that is incompatible with the protections of the First Amendment.” 82 F.4th

at 693.

     123. Nor does it matter that the Department’s statutory discretion is available only if an ex-

ception is “necessary to ensure the availability of a mixed-delivery system” and may be time-

limited. See Colo. Rev. Stat. § 26.5-4-205(1)(b)(II). The Department has never asserted that the

mixed-delivery caveat forecloses an exception here. See Tr. (Day 1, Cooke) 160:16-17 (“Faith-


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    Health and Safety Requirements,              Colorado     Department     of    Early    Childhood,
https://perma.cc/7HEY-EVAK.


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based providers have always been envisioned to be part of the mixed-delivery model.”); Black-

hawk v. Pennsylvania, 381 F.3d 202, 205, 209-10 (3d Cir. 2004) (Alito, J.) (applying strict scrutiny

even though government official had to determine that exception was “consistent with sound game

or wildlife management activities or the intent of [the Game and Wildlife Code]”).

   124. And even if waivers under the UPK statute are time-limited (though the time limits are

unstated), the existence of even temporary exceptions triggers strict scrutiny and requires a “com-

pelling reason.” Axson-Flynn, 356 F.3d at 1297-99 (a one-day exception from requirement could
trigger strict scrutiny of denial of permanent exception); see also, e.g., Singh v. Berger, 56 F.4th

88, 99-100 (D.C. Cir. 2022); Newland, 881 F. Supp. 2d at 1291, 95 (Kane, J.) (government’s in-

terest in requiring religious plaintiff to cover contraceptives in health plan “undermined by the

creation of exemptions for” “grandfathered” plans and a “temporary enforcement safe harbor” for

others).

           3. Neutrality

   125. Defendants’ exclusion of Plaintiff preschools is not only lacking in general applicability,

but has also “transgressed th[e] neutrality standard” imposed by the Free Exercise Clause. Fulton,

141 S. Ct. at 1877. At minimum, neutrality means the government cannot proceed based “on hos-

tility to a religion or religious viewpoint” or “act in a manner that passes judgment upon or pre-

supposes the illegitimacy of religious beliefs and practices.” Masterpiece Cakeshop, Ltd. v. Colo.

C.R. Comm’n, 584 U.S. 617, 618-19 (2018); see also Kennedy, 597 U.S. at 525.

   126. Here, however, Defendants have compared Plaintiffs preschools to 1970s segregation

academies in the South and characterized Plaintiffs’ millennia-old religious beliefs as stigmatiza-

tion and bullying. ECF No. 77 at 23-26, 29-31; Tr. (Day 2, Odean) 260:5-9, 261:21-262:12, 263:7-

14. These statements are not only offensive and wrong, see Obergefell v. Hodges, 576 U.S. 644,

679-80 (2015) (“emphasiz[ing]” religious organizations must be “given proper protection as they

seek to teach” their views on marriage); they are similar to the statements by a different Colorado



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agency that the Masterpiece Court found to demonstrate “clear and impermissible hostility.” 584

U.S. at 634-35 (comparison of beliefs “to defenses of slavery and the Holocaust”). And they are

fully in keeping with the previously expressed views of Director Roy. See Ex. 27 at 22:10-20,

29:19-31:11 (“thank goodness” “[t]he law is there to protect” against religious providers’ main-

taining bathrooms based on biological use or declining to use preferred pronouns). Defendants’

lack of neutrality again triggers strict scrutiny.

    C. Strict scrutiny
    127. With strict scrutiny triggered, Defendants have the burden to prove that excluding Plain-

tiff preschools “serve[s] a compelling interest and [is] narrowly tailored to that end.” Kennedy, 597

U.S. at 532. “That is a demanding standard.” Brown v. Ent. Merchs. Ass’n, 564 U.S. 786, 799

(2011). And in applying it, the Supreme Court has repeatedly ruled in favor of First Amendment

claimants in cases like this one. See, e.g., 303 Creative LLC v. Elenis, 600 U.S. 570, 602 (2023)

(website designer couldn’t be forced to design for same-sex weddings); Fulton, 141 S. Ct. at 1877

(Catholic foster-care agency couldn’t be forced to certify same-sex couples); Hurley v. Irish-Am.

Gay, Lesbian & Bisexual Grp., 515 U.S. 557, 578-79 (1995) (parade couldn’t be forced to include

LGBT pride group). Defendants fare no better.

            1. Compelling interest

    128. Neither of Defendants’ alleged interests are compelling.

    129. Defendants first asserted an interest in “equal and unfiltered and unbiased access to all

preschool families.” ECF No. 56 at 9; ECF No. 77 at 37 (“interest in ensuring equitable access to

preschool for all Colorado children”); see also Ex. 23 at 1 (“serve everybody if you want to take

public funds”). But the problem is that, for the myriad reasons discussed above, UPK Colorado

requires no such thing. Over a thousand UPK providers have claimed one of Defendants’ categor-

ical exceptions from this “serve everybody” requirement. Supra ¶ 58. The Department also permits

providers to request still other exceptions of any kind on an individualized basis. Supra ¶¶ 59-60.



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And at trial, even more exceptions were added to the list. Supra ¶ 55 (“gender-nonconforming

children”; “children of color from historically underserved areas”; “LGBTQ community”).

    130. This proliferation of “exceptions … undermines [any] contention that [the Department’s]

non-discrimination policies can brook no departures.” Fulton, 141 S. Ct. at 1882. “[A] law cannot

be regarded as protecting an interest of the highest order when it leaves appreciable damage to that

supposedly vital interest unprohibited.” Newland, 881 F. Supp. 2d at 1298 (quoting Lukumi, 508

U.S. at 547), aff’d, 542 F. App’x 706 (10th Cir. 2013). That blackletter principle forecloses De-
fendants’ effort to satisfy strict scrutiny here.

    131. Recognizing this weakness, Defendants pivot, claiming instead that their interest in ex-

cluding Plaintiffs is in “ensuring that four-year-olds and their families do not face discriminatory

barriers to preschool,” which Defendants define as “hav[ing] fewer options available … because

of who they are.” ECF No. 77 at 22; see also Tr. (Day 3, Defendants’ Closing) 482:4-9. But this

alleged interest fares no better.

    132. First, excluding Plaintiff preschools doesn’t even advance this alleged interest. There are

approximately 2,000 UPK providers that have agreed to the Department’s Mandate. Tr. (Day 2,

Odean) 229:4-10. Allowing Plaintiff preschools to participate would not take away a single one of

those options for LGBTQ families. See id. at 237:8-13 (new providers “participate alongside” cur-

rent providers). To the contrary, it would add to the list of UPK providers—permitting Catholic

families who feel obliged to send their kids to Catholic schools, like the Sheleys, to participate too.

Tr. (Day 1, Sheley) 98:25-99:3, 100:3-7; see Fulton, 141 S. Ct. at 1881-82 (“Maximizing the num-

ber of foster families” is an “important goal[],” but “[i]f anything, including” a Catholic foster

agency “seems likely to increase, not reduce, the number of available foster parents”). Put simply,

if the goal is to prevent “children and families” from “hav[ing] fewer options available to them

because of who they are,” ECF No. 77 at 22-23, Defendants have “fail[ed] to show that granting

[Plaintiff preschools] an exception will put th[at] goal[] at risk,” Fulton, 141 S. Ct. at 1881-82. If



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anything, including Plaintiff preschools will increase access for families, like the Sheleys, who

have no UPK options right now “because of who they are.” ECF No. 77 at 22.

   133. Second, after-the-fact justifications cannot, as a matter of law, supply the compelling

government interest necessary to make out a strict scrutiny affirmative defense. Kennedy, 597 U.S.

at 543 n.8 (“Government ‘justification[s]’ for interfering with First Amendment rights ‘must be

genuine, not hypothesized or invented post hoc in response to litigation.’” (alteration in original));

Colo. Christian Univ. v. Weaver, 534 F.3d 1245, 1268 (10th Cir. 2008) (CCU) (“governmental
interest found nowhere but in the defendants’ litigating papers” is insufficient).

   134. Defendants have failed to show that the Department considered, let alone relied upon,

this alleged interest when it denied Plaintiffs an accommodation. Defendants have repeatedly con-

firmed that the reason they denied the accommodation was that (in their view) the UPK statute did

not allow them to grant an exception from the Mandate. Tr. (Day 1, Cooke) 159:23-160:7, 173:18-

20; Ex. 12 at 1 (only reason stated in letter). No other reason has been proffered. And although

Defendants now seek to attribute this interest to the Legislature, the key statutory findings they

cite relate to a completely different children’s mental health program not at issue here. See ECF

No. 83 at 4 (citing Colo. Rev. Stat. § 26.5-1-113(1)(a) (a statutory provisions regarding, as ex-

plained in subsection 3(a), how “the department shall contract with a Colorado-based nonprofit

entity to provide children’s mental health programs.”)). Without any record evidence even sug-

gesting that—at the time this decision was made—the Department determined that granting the

accommodation would (somehow) impose discriminatory barriers on access to preschool, this in-

terest is not compelling. CCU, 534 F.3d at 1268.

   135. Third, Defendants lack a compelling interest in specifically denying Plaintiff preschools

a religious exception. When determining whether an interest is compelling, courts must “look[]

beyond broadly formulated interests” and instead “scrutinize[] the asserted harm of granting spe-

cific exemptions to particular religious claimants.” Gonzales v. O Centro Espírita Beneficente



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União do Vegetal, 546 U.S. 418, 431 (2006); see Ramirez v. Collier, 595 U.S. 411, 427 (2022)

(same); Fulton, 141 S. Ct. at 1881 (same). It is not enough for the Department to advance a general

interest in removing discriminatory barriers to preschool; instead, Defendants must show they have

a compelling “interest in denying an exception to” Plaintiff preschools specifically. Fulton, 141

S. Ct. at 1881.

   136. Defendants attempt to show they have a compelling interest by citing studies focused on

alleged harms to LGBTQ-identifying families and children from “[a]dverse experiences … in a
school context.” ECF No. 77 at 23-25. But there is no evidence that anything like what Defendants

cite has happened or would happen at either Plaintiff preschool. To the contrary, the record shows

that Plaintiff preschools have not caused any of the harms that Defendants’ UPK requirements are

intended to prevent, and Defendants themselves agree that any future harm is purely “speculative.”

See ECF No. 38 at 11; supra ¶¶ 35-36.

   137. Both Plaintiff preschools are state licensed and have participated in government funding

programs for years. Supra ¶¶ 8, 73. Even so, the Department has not received a single complaint

regarding LGBTQ discrimination against either school. Tr. (Day 2, Odean) 264:1-265:14; Ex. 39

¶¶ 20-24. Likewise, Defendants themselves emphasize that Plaintiff preschools haven’t had to

deny “a family and/or student enrollment into their schools due to sexuality … or religious belief.”

ECF No. 53 at 2-3; see also Tr. (Day 1, Seul) 80:16-81:5 (confirming same); Tr. (Day 1, Coats)

114:19-115:13 (same). In other words, according to the Department, the alleged harms it seeks to

avoid by excluding Plaintiff preschools have not occurred in the past and are “speculative” as to

the future. ECF No. 38 at 11 (Defendants’ motion to dismiss) (emphasis added).

   138. In addition, the record shows that Plaintiff preschools already take steps that mitigate the

only purported harms that Defendants have tried to offer—alleged harm caused to LGBTQ stu-

dents and families from being in non-affirming school environments. Indeed, Plaintiff preschools

employ thoughtful admissions processes that are designed ultimately to ensure that parents and



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students understand and agree with the schools’ Catholic beliefs and morals. See Tr. (Day 1, Seul)

76:25-83:18 (St. Mary); Tr. (Day 1, Coats) 109:9-20, 111:2-113:4, 116:6-18 (Wellspring); Ex. 5

(detailing admissions policies and procedures). As Plaintiffs have said from the start, they too want

to avoid creating conflicts for families who might have beliefs or views on sexuality that diverge

from what their schools teach. E.g., ECF No. 30 ¶ 148. This is why Plaintiffs have the enrollment

policies they do. Cf. Tr. (Day 1, Coats) 114:2-13 (declining to enroll fifth-grade child of same-sex

parents to avoid “caus[ing] great conflict within their own family”); see also Tr. (Day 1) (Chilelli)
50:18-54:20. All of this only underscores the speculative nature of Defendants’ alleged concerns.

   139. Without any evidence that accommodating Plaintiff preschools would decrease access

(or impose “barriers”) to preschool for LGBTQ students and families, Defendants lack a compel-

ling interest in applying their policies specifically to Plaintiff preschools. This point is dispositive

on strict scrutiny. Defendants are required to “specifically identify an ‘actual problem’ in need of

solving,” Brown, 564 U.S. at 799; mere “speculation is insufficient,” Fulton, 141 S. Ct. at 1882;

see also, e.g., Peck v. McCann, 43 F.4th 1116, 1136 (10th Cir. 2022) (“[S]peculation … is not

enough to meet Defendants’ burden under strict scrutiny.”); O Centro, 546 U.S. at 431 (requiring

courts to assess “the asserted harm of granting specific exemptions to particular religious claim-

ants.”). All Defendants can do is speculate—confirming strict scrutiny is not satisfied.

   140. Fourth, Defendants’ own experts confirmed the Department lacks a compelling interest

in excluding Plaintiff preschools from UPK Colorado.

   141. The testimony of Dr. Goldberg and Dr. Tishelman established conclusively that there is

no research demonstrating that excluding preschools (much less Catholic preschools specifically)

from UPK Colorado would advance the Department’s alleged interests in removing discriminatory

barriers to preschool. E.g., Tr. (Day 2, Goldberg) 300:12-17 (no evidence regarding the effect of

enrollment policies on LGBTQ families), 302:2-21 (no research on topics relevant to the legal

questions at issue in this case), 305:1-4 (agreeing there is no “evidence showing that LGBTQ



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families in Denver are unable to access cost-effective early childhood education through the UPK

program”); Tr. (Day 3, Tishelman) 377:4-378:3, 378:6-8 (not “aware of studies specific to pre-

school on LGBTQ bullying”).

   142. Moreover, neither Dr. Goldberg nor Dr. Tishelman provided any testimony that would

support Defendants’ burden of showing that excluding Plaintiff preschools in particular from UPK

Colorado advances their alleged interests. See Tr. (Day 3, Tishelman) 396:22 (“I don’t know that

I can answer that question”); Tr. (Day 2, Goldberg) 304:13-305:7 (unaware of evidence regarding
accessibility of early childhood education for LGBTQ families in UPK Colorado, much less evi-

dence relating to Plaintiff preschools specifically). Nor could the experts point to any harm more

generally caused by Plaintiff preschools that would justify excluding them from UPK Colorado.

Dr. Goldberg offered no evidence that lesbian or gay families in Denver would be unable to access

affirming preschools as a result of Plaintiffs’ policies, e.g., Tr. (Day 2, Goldberg) 302:2-21, and

(to the contrary) her research showed that lesbian and gay families actively and successfully seek

out affirming preschools, id. at 308:2-19. Dr. Tishelman also readily admitted there was no evi-

dence Plaintiff preschools’ policies had caused “adverse childhood experiences” for any child. Tr.

(Day 3, Tishelman) 381:6-22, 383:15-17; cf. Tr. (Day 2, Tishelman) 358:3-14 (testimony about

enrollment “speculative[]”).

   143. Instead, both experts established that Defendants’ alleged interests were not compel-

ling—in fact, their testimony tended to show that Defendants’ alleged interests are spurious as

applied to Plaintiffs. The experts agreed that—rather than lacking access—same-sex couples living

in urban areas (like Denver) already had access to affirming preschool environments. See Tr. (Day

2, Goldberg) 304:16-305:4, 308:2-19. Dr. Goldberg even acknowledged that the lesbian and gay

families living in urban areas in her own research study had not reported experiencing discrimina-

tion in the preschool environment, contradicting Defendants’ alleged concerns. Id. at 306:15-

307:8; see also id. at 304:2-7 (“affirming environments … are more easily found in urban areas”);



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Ex. 57 at 12-13 (one respondent: “we live in LGBT nirvana when it comes to parenting”). But see

Tr. (Day 1, Defendants’ Opening) 19:17-20:8 (alleging statutory purpose to prevent harm to

LGBTQ families).

   144. And, while Defendants have constrained parents’ choice of UPK providers by excluding

Plaintiff preschools, Dr. Tishelman’s testimony rejected Defendants’ paternalism. Dr. Tishelman

explained that parents should “be allowed to decide what is best for their child in this realm we’re

talking about of gender diversity and transgendered children.” Tr. (Day 2, Tishelman) 367:12-22.
She further testified that “parents and school[s]” should be “on board together in a … coordinated

approach,” and that schools should “follow how a family treats their child at home.” Id. at 351:2-

352:4. Dr. Tishelman’s testimony thus confirmed that it should ultimately be up to parents and

schools to determine whether enrollment would be a good fit given a family’s particular circum-

stances. See Ex. 47 at 12 (“It is imperative that policies do not constrain a parent from using their

best judgment[.]”). Dr. Tishelman’s testimony, therefore, does not support the Department’s deci-

sion to deny families the option of sending their children to St. Mary and Wellspring.

   145. Defendants’ experts further undermined the salience and impartiality of their own testi-

mony when they acknowledged that what they found objectionable was actually the “message”

sent by Plaintiffs’ schools—and that they actually wanted religious schools to change that religious

message to be more inclusive of LGBTQ individuals. See Tr. (Day 2, Goldberg) 311:4-19 (testi-

fying that the “message” Catholic schools are sending is “harmful”); Tr. (Day 3, Tishelman)

382:13-383:22 (viewing her testimony as advancing “access to religious institutions for peo-

ple … [who] identify as transgender or gender diverse”). As Colorado should know by now, dic-

tating an organization’s religious message is off the table. See 303 Creative, 600 U.S. at 586.

   146. This Court, however, need not opine on the merits of any expert testimony to resolve this

case. Instead, it can look to the Supreme Court’s analysis in Fulton—where the government put




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on expert testimony strikingly similar to the expert testimony at trial here 11—to resolve strict scru-

tiny. Just as in Fulton, Defendants here assert an interest in “equal treatment” and the removal of

discriminatory barriers for LGBTQ families. Compare Fulton, 141 S. Ct. at 1882, with ECF No.

77 at 22 (quoting same language from Fulton to describe interest). And just as in Fulton, Plaintiffs

here assert the right to maintain their religiously mandated policies while participating in a gov-

ernment funding program. See Fulton, 141 S. Ct. at 1874-75. Given the all-but-identical interests

at stake, Fulton’s strict scrutiny analysis is dispositive. And there, the Court couldn’t have been

clearer: “The City offers no compelling reason why it has a particular interest in denying an ex-

ception to [Catholic Social Services] while making them available to others.” Fulton, 141 S. Ct. at

1882.

     147. Fifth, a government interest is not compelling “when it leaves appreciable damage to

that supposedly vital interest unprohibited.” Reed v. Town of Gilbert, 576 U.S. 155, 172 (2015); O

Centro, 546 U.S. at 433 (same). Here, during trial, Defendants abandoned their attempt to regulate

the religious curriculum taught in faith-based preschools, changing a provision in their proposed

regulations to give faith-based preschools greater “independence” to determine when and how they

will provide religious education in the classroom. Tr. (Day 2, Odean) 232:23-234:17 (“Q. … Does

the Department have any intention of interfering with the curriculum of faith-based providers?

A. No.”). Compare Ex. 21 at 7 (Section 4.111(C)) with Ex. 71 at 8 (Section 4.111(C)); Tr. (Day 2,

Odean) 267:9-21 (provision newly amended).




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    The defendant city in Fulton v. City of Philadelphia called an expert “to testify to the harms
that might occur if the Court granted injunctive relief,” but that testimony was categorically disre-
garded by the district court, the Third Circuit, and the Supreme Court. See Fulton, 320 F. Supp. 3d
661, 703 (E.D. Pa. 2018) (“The Court, however, need not, and has not relied on Cervone’s testi-
mony in deciding the Injunction Motion.”); Fulton, 922 F.3d 140, 151 n.6 (3d Cir. 2019) (Cer-
vone’s “testimony is not important to the issues on appeal.”); Fulton, 141 S. Ct. 1868 (2021) (no
mention of expert testimony).


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   148. But—to the extent they could identify any harms—Defendants’ experts seemed to think

the greatest harms could result from students’ receiving messages in the classroom inconsistent

with their perceived sexuality identity. Tr. (Day 2, Tishelman) 296:15-23, 297:17-20, 313:21-22;

Ex. 45 at 7-8 (“Such messages will negatively impact children”); cf. Tr. (Day 2, Tishleman)

364:17-25; supra ¶ 145. And they pointed to non-affirming curricula as one source of this harm.

Tr. (Day 2, Goldberg) 296:18-23, 313:5-7, 316:11-14. Thus, even assuming Defendants’ experts

had shown evidence of harm (they didn’t, as explained above), Defendants’ volte-face on religious
curricula would leave “appreciable damage” to a “supposedly vital interest unprohibited” by fail-

ing to address the supposedly harmful messages taught in the classroom. Defendants’ asserted

interest is, again, not compelling. Reed, 576 U.S. at 172.

           2. Narrow tailoring

   149. Defendants have not only failed to assert a compelling interest—they have not shown

that their means of advancing these alleged interests are “narrowly tailored.” Kennedy, 597 U.S.

at 525. Strict scrutiny requires that “[i]f a less restrictive alternative would serve the Government’s

purpose, [it] must use that alternative.” United States v. Playboy Ent. Grp., 529 U.S. 803, 813

(2000). Narrow tailoring also requires that there be a close “fit” between the “means” they have

chosen and the “ends” they are seeking to accomplish (i.e., their asserted government interests).

Brewer v. City of Albuquerque, 18 F.4th 1205, 1226 (10th Cir. 2021); see also Awad v. Ziriax, 670

F.3d 1111, 1130 (10th Cir. 2012). This an independent basis for failing strict scrutiny. Kennedy,

597 U.S. at 525. Defendants fail narrow tailoring in at least two ways.

   150. First, Defendants have failed to use available alternatives less restrictive of religious ex-

ercise than total exclusion of Plaintiff preschools from UPK Colorado—an omission that is espe-

cially glaring when the record suggests that a narrower approach is both already being used for

other providers and is likely to be effective.




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     151. If Defendants’ interest is in removing “discriminatory barriers to preschool,” supra ¶ 131,

then helping families quickly find accurate information about providers advances that interest. Tr.

(Day 1, Defendants’ Opening) 19:14-15 (“The goal was to provide options for families so they can

select the school that was the just-right fit for their family[.]”). Indeed, the Department has already

taken steps to facilitate easy access to finding and assessing UPK providers through its online

portal. Ex. 20, 25; Tr. (Day 1, Cooke) 167:11-168:2. When a family goes to the UPK portal today

to search for providers, they will see disclaimers like: “This is a Head Start grantee and families
may need to meet additional factors to enroll”; “[T]he provider supports children with Individual-

ized Education Program (IEP)”; “This is an immersive or dual language provider and children may

need to be screened to participate in the program”; and “This provider may require families to be

a part of their congregation.” Ex. 20 at 1-5. What is more, the portal can ask families questions to

determine whether that family meets a provider’s enrollment requirements. For example, “a family

will be asked [on the UPK portal] if they’re employed by the provider. A family will be asked if

they have a sibling with a provider. A family would be asked if they are currently enrolled with a

provider[.]” Tr. (Day 1, Cooke) 167:11-168:2. This information could help determine if a family

is eligible for the particular provider. Id.

     152. Thus, rather than exclude secular providers who cannot serve all families, the Department

has taken steps to support these providers’ ability to participate in the program without complying

fully with the Mandate. The Department, however, has denied Plaintiffs this same option. And the

Department has failed to demonstrate how allowing Plaintiff preschools to participate in the pro-

gram while providing families with similar information upfront would not advance the Depart-

ment’s asserted interest in the same way. 12 See Tr. (Day 2, Odean) 263:23-25 (provider preferences

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    Similarly, if Defendants are concerned about giving the mistaken impression that Plaintiffs’
“discrimination” is “government-backed,” ECF No. 38 at 1, they can explain in public-facing ma-
terials the already-obvious point that the beliefs of private preschool providers aren’t attributable
to the Department. That is what they already do with respect to Head Start-only preschools and


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are displayed “[s]o that families understand and are making an informed choice about the provider

that they’ve listed”); McCullen v. Coakley, 573 U.S. 464, 495 (2014) (“To meet the requirement

of narrow tailoring, the government must demonstrate that alternative measures that burden sub-

stantially less speech would fail to achieve the government’s interests[.]” (emphasis added)).

   153. Second, Defendants fail narrow tailoring because the “means” they have chosen do not

“fit” their asserted interest. As explained earlier, if Defendants’ asserted interest is in removing

discriminatory barriers to preschool (and therefore increasing access to preschool), they have
failed to show that excluding two Catholic preschools from UPK Colorado advances that interest

one iota. Supra ¶ 132. Adding two preschools will not prevent any current UPK provider from

participating in the program; it would instead facilitate access for more families—including Cath-

olic families like the Sheleys. By picking means that do not advance their asserted ends, Defend-

ants “have not carried their burden to show why [denying a religious accommodation is] ‘closely

fitted’ to a compelling interest.” Awad, 670 F.3d at 1131.

   154. Rather than carrying their burden, Defendants have previously asserted that Plaintiffs’

position has no “Limiting Principle,” raising the specter of race discrimination and worrying that

other programs (like the Denver Preschool Program) might have to have religious exemptions, too.

ECF No. 77 at 25-26. But see O Centro, 546 U.S. at 435-36 (generalized “slippery-slope concerns”

insufficient on strict scrutiny). But Defendants (not Plaintiffs) are the ones who apparently believe

it is permissible for preschools to discriminate based on race. Supra ¶ 54. And their professed fear

that a religious exception here could lead to a similar exception under DPP is ironic—DPP already

has a religious exemption, which is why the Archdiocese permits its schools to participate. Tr.

(Day 1, Chilelli) 62:12-16. Accommodating religious preschools in these other programs—some




IEP-only preschools – they attribute the restriction to the provider, not the State. See, e.g., Ex. 20
at 1-5.


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for decades—has not led any of these other programs down the fanciful slippery slope Defendants

fear.

    155. In fact, it is Defendants’ position that lacks a “Limiting Principle.” UPK revolutionized

the delivery of preschool in Colorado overnight, turning it from a system in which Catholic schools

could compete equally with their secular counterparts to one in which they were massively disad-

vantaged by the State because of their religious exercise. If Defendants here are right, Colorado

could do the same thing tomorrow to (in Defendants’ words) “any publicly funded service provid-
ers—from health care providers to soup kitchens to rehabilitation service providers.” ECF No. 77

at 26. That view cannot be reconciled with the First Amendment.

        D. Rational basis

    156. For many of the same reasons Defendants’ actions fail strict scrutiny, they also fail ra-

tional-basis review. Given the lack of any connection between Defendants’ exclusion of Plaintiff

preschools and their alleged interest in removing discriminatory barriers to access preschool (noth-

ing in logic or evidence suggests adding UPK providers would decrease preschool access), De-

fendants’ actions are not even rationally related to a legitimate government interest. Romer v. Ev-

ans, 517 U.S. 620, 632-33 (1996) (government’s action must be “grounded in a sufficient factual

context” for the court to determine that it “bear[s] a rational relationship to an independent and

legitimate [governmental] end”); Christian Heritage Acad. v. Oklahoma Secondary Sch. Activities

Ass’n, 483 F.3d 1025, 1033 (10th Cir. 2007) (no rational basis where decision’s “relationship to

an asserted goal is so attenuated as to render the distinction arbitrary or irrational.”).

II. Church autonomy

    157. Turning to church autonomy, the Department’s attempt to regulate the employment de-

cisions of UPK providers violates that doctrine twice over—by purporting first to limit Plaintiff

preschools’ right to freely hire and fire ministers; and second, to bar them from making religion-

based personnel decisions for non-ministers.



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    158. During trial, Defendants conceded that they have no “authority” to regulate the employ-

ment practices of St. Mary or Wellspring and said they will remove Paragraph 18(B)—the offend-

ing provision—from the Agreement starting next year. See Tr. (Day 2, Odean) 231:15-232:22,

265:23-266:20. Because Paragraph 18(B) intrudes on Plaintiffs’ constitutional rights, and because

Defendants have abandoned its defense (though it remains in the Agreement for the rest of this

academic year), this Court should hold that Paragraph 18(B) violates Plaintiffs’ First Amendment

rights.
    A. Ministerial exception (Count II)

    159. One “component of [church] autonomy” is the “ministerial exception,” which protects

religious institutions’ “authority to select, supervise, and if necessary, remove” employees “who

play certain key roles.” Our Lady of Guadalupe Sch. v. Morrissey-Berru, 140 S. Ct. 2049, 2060-

61 (2020). This rule “bar[s] the government from interfering with” a religious group’s selection of

ministers, or its “decision … to fire one.” Hosanna-Tabor Evangelical Lutheran Church & Sch. v.

EEOC, 565 U.S. 171, 181, 185 (2012); see also Skrzypczak v. Roman Catholic Diocese of Tulsa,

611 F.3d 1238 (10th Cir. 2010).

    160. As the Supreme Court has recognized, “educating young people in their faith, inculcating

its teachings, and training them to live their faith are responsibilities that lie at the very core of the

mission of a private religious school.” Our Lady, 140 S. Ct. at 2064. Accordingly, religious-school

employees who are “expected to help … carry out” these responsibilities are covered by the ex-

ception. Id. at 2066 (teachers); see Starkey v. Roman Catholic Archdiocese of Indianapolis, 41

F.4th 931, 940 (7th Cir. 2022) (administrative council member); Fratello v. Archdiocese of N.Y.,

863 F.3d 190 (2d Cir. 2017) (principal).

    161. Here, there is no question that Plaintiff preschools’ teachers qualify as ministers, Tr. (Day

1, Chilelli) 38:21-40:21, 42:23-44:14; supra ¶¶ 20-24, or that Paragraph 18(B)’s text purports to

regulate the employment relationship between these teachers and Plaintiff preschools, Ex. 13 at 27



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(“Provider shall not: … discriminate against any person …” (emphasis added)). Paragraph 18(B)’s

attempt to “dictate or even to influence” Plaintiffs’ selection of ministerial employees violates the

First Amendment. Our Lady, 140 S. Ct. at 2060; see Darren Patterson, 2023 WL 7270874, at *15

(finding the same).

     B. Church autonomy (Count III)

     162. In addition to running afoul of the ministerial exception, Paragraph 18(B) also violates

“the broader church autonomy doctrine” that protects religious organizations’ freedom to make
“personnel decision[s] based on religious doctrine,” including personnel decisions involving non-

ministerial employees. Bryce v. Episcopal Church of the Diocese of Colo., 289 F.3d 648, 658 n.2,

660 (10th Cir. 2002).

     163. Here, the Archdiocese’s preschools require all staff to be “faithful men and women” and

to “refrain from public promotion or approval of any conduct or lifestyle that would … be consid-

ered in contradiction with Catholic doctrine or morals,” including on marriage and sexuality. Ex.

2 at 3; Ex. 6 at 1-2; Tr. (Day 1, Chilelli) 44:2-17, 46:9-25; supra ¶¶ 21, 25. Yet the Department

purports to bar providers from “discriminat[ing] against” employees based on “religion,” “sexual

orientation,” and “gender identity.” Ex. 13 at 27. By preventing Plaintiff preschools from making

“personnel decision[s] based on religious doctrine,” Bryce, 289 F.3d at 660, Paragraph 18(B) vio-

lates the First Amendment.

     C. Defendants’ intention to voluntarily cease enforcing Paragraph 18(B) in the future

     164. Rather than defend their intrusion into Plaintiffs’ employment practices, Defendants flee,

claiming this provision was a mistake, Tr. (Day 2, Odean) 231:25-232:2, that it won’t be used next

year, id. at 232:16-20, and that they have now “disavowed” enforcement, id. at 232:12-15. 13



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    Defendants did not tell Plaintiffs or this Court that Paragraph 18(B) was a “mistake” until trial,
despite multiple opportunities to do so. Presumably Defendants ought to have realized their mis-
take when it was first brought to their attention, not months (and two lawsuits) later.


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   165. But the contract that Plaintiff preschools would be expected to sign to participate for the

remainder of this year still contains Paragraph 18(B). See Ex. 13 at 27; cf. Tr. (Day 1, Chilelli)

58:18-23. And this hasty retreat is ineffective for several reasons.

   166. First, Defendants reserved the right to “of course” find any “facts” needed “to determine

whether a provider’s employment decisions … are protected by federal law.” ECF No. 38 at 16

n.5. This makes no sense; if the Department lacks “authority” to enforce Paragraph 18(B) as to

employment, it should be precluded from even initiating an investigation to determine those facts.
Tr. (Day 2, Odean) 266:10-12.

   167. Second, with regard to Plaintiffs’ church autonomy claim (Count III), Defendants say

they’re willing to permit Plaintiffs preschools to prefer “co-religionists,” but contend this doesn’t

exempt them from employment claims based on “sex” discrimination. ECF No. 77 at 27-28. This

is simply a rejection of the Tenth Circuit’s decision in Bryce, which applied the “broader church

autonomy doctrine” precisely to dismiss a claim of otherwise-prohibited “sex” discrimination.

Bryce, 289 F.3d at 655-60 & n.2. Other than Bryce, Defendants’ sole citation is to Our Lady of

Guadalupe—but the Supreme Court there rejected the precise “co-religionist” understanding of

church autonomy that Defendants urge here, explaining it “would create a host of problems” in-

cluding “judicial entanglement in religious issues.” 140 S. Ct. at 2068-69.

   168. Fourth, even if Defendants’ 11th-hour decision to drop Paragraph 18(B) were effective,

it cannot make Counts II and III moot, because “[i]t is well settled that a defendant’s voluntary

cessation of a challenged practice does not deprive a federal court of its power to determine the

legality of the practice.” City of Mesquite v. Aladdin’s Castle, Inc., 455 U.S. 283, 289 (1982).

Without the voluntary-cessation doctrine, a defendant “could engage in unlawful conduct, stop

when sued to have the case declared moot, then pick up where [it] left off” once the claim is

dismissed, United States v. Sanchez-Gomez, 584 U.S. 381, 386 n.* (2018)—as Defendants likely

will seek the freedom to do here.



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       169. For these reasons, a live dispute remains between the parties as to Counts II and III. And

because Defendants have abandoned their defense of Paragraph 18(B), this Court should follow

their lead and enjoin enforcement of that provision against Plaintiff preschools.

III.      Expressive association (Count VI)

       170. “[T]he First Amendment protects acts of expressive association.” 303 Creative, 600 U.S.

at 586. That includes the decision “not to associate” with others if the forced association would

“affect[] in a significant way the group’s ability to advocate” its “viewpoints.” Boy Scouts of Am.
v. Dale, 530 U.S. 640, 648 (2000). The Mandate and Paragraph 18(B) violate this First Amendment

protection by forbidding Plaintiff preschools from considering religion, sexual orientation, and

gender identity in admission, hiring, and operations. See supra ¶¶ 66-70.

       171. In Dale, the Court held that the Boy Scouts were entitled to exclude a scoutmaster who

was “an avowed homosexual and gay rights activist,” despite a state law prohibiting sexual-orien-

tation discrimination. Boy Scouts of Am., 530 U.S. at 643-45. The Court explained that freedom to

associate “presupposes a freedom not to associate,” and that requiring the Scouts to retain the

plaintiff would impermissibly “force [them] to send a message” that they “accept[] homosexual

conduct as a legitimate form of behavior.” Id. at 648, 653. Likewise, in Slattery v. Hochul, 61 F.4th

278 (2d Cir. 2023), a pro-life pregnancy center challenged a state law that prohibited employment

discrimination based on “reproductive health decision[s],” claiming the law violated expressive

association by “preventing [the center] from disassociating itself from employees who, among

other things, seek abortions.” Id. at 283. Applying Dale, the Second Circuit ruled for the center.

“The right to expressive association allows [the center] to determine that its message will be …

conveyed only by employees who sincerely share its views”; accordingly, “strict scrutiny applies.”

Id. at 288-89.




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   172. Defendants do not dispute that Plaintiff preschools “engage in some form of expression,”

or that forced association would “significantly affect [their] ability to advocate” for their view-

points. Dale, 530 U.S. at 648, 650. Nor do they dispute that, having shown this, the Department’s

actions must satisfy strict scrutiny. Id. at 648, 659. See ECF No. 77 at 28-30.

   173. Instead, Defendants imagine a brand new carve-out from expressive association claims,

one that is (conveniently) limited to “employment and education settings” but that is found no-

where in the caselaw. See ECF No. 77 at 29. This proposed “employment and education” exception
to the First Amendment contradicts: recent Circuit-level precedent (Slattery); Judge Domenico’s

decision in Darren Patterson, 2023 WL 7270874, at *15; and Dale itself, where the nondiscrimi-

nation law at issue also applied in the context of employment, 530 U.S. at 661-62. (Tellingly,

Defendants cite the Dale dissent. ECF No. 77 at 30.)

   174. Defendants’ own cases further confirm that this new exception is fictitious. Hishon, for

example, didn’t hold that employment claims are per se exempt from expressive-association de-

fenses; it simply held that the defendant there (a large, for-profit law firm) hadn’t shown the rele-

vant association would in fact “inhibit[]” expression of its “ideas and beliefs.” Hishon v. King &

Spalding, 467 U.S. 69, 78 (1984). Defendants’ citation to Runyon v. McCrary, 427 U.S. 160, 175-

76 (1976), repeats their offensive and incorrect conflation of Plaintiffs’ millennia-old religious

beliefs with invidious race discrimination. Supra ¶ 126. And the “critical” point in Rumsfeld v.

FAIR was that the law there did not require schools to accept military recruiters as members of

their community, like it would if—as here—it forced them to accept objectionable “[s]tudents and

faculty.” 547 U.S. 47, 69-70 (2006). If anything, FAIR supports Plaintiffs.

IV. Denominational favoritism (Count VII)

   175. Laws that favor one religion over another are subject to strict scrutiny. Larson v. Valente,

456 U.S. 228, 246-47 (1982). “In other words, no State can pass laws which aid one religion or

that prefer one religion over another.” CCU, 534 F.3d at 1257 (cleaned up); see also Awad, 670



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F.3d at 1127 (“Strict scrutiny is required when laws discriminate among religions.”). In Larson,

for example, the Supreme Court held that a law imposing additional registration and reporting

requirements on religious groups receiving most “of their funds from nonmembers” discriminated

among denominations “in violation of the … First Amendment.” Larson, 456 U.S. at 230. The rule

triggered strict scrutiny because it “focuse[d] precisely and solely upon religious organizations”

and “effectively distinguishe[d] between ‘well-established churches’ … and ‘churches which are

new and lacking in a constituency.’” Id. at 246 n.23.
   176. Similarly, in CCU, the Tenth Circuit held that a Colorado law giving scholarship funding

to sectarian—but not pervasively sectarian—universities violated denominational neutrality. 534

F.3d at 1259-60. The court explained, “[t]he sole function and purpose of the challenged provisions”

was “to exclude some but not all religious institutions on the basis of the stated criteria.” Id. at

1258.

   177. Defendants’ policies likewise violate denominational neutrality. The congregation pref-

erence “focuses precisely and solely upon religious organizations.” Larson, 456 U.S. at 246 n.23.

And it “function[s]” to impermissibly discriminate among them. CCU, 534 F.3d at 1258. Accord-

ing to the Department, the exception “accommodates” religious preschools’ “interest” in requiring

adherence to religious-conduct standards by enrolling families. ECF No. 47 at 4, 7, 17. But pro-

viders are not allowed to require such adherence where it would be “contrary to the equity state-

ment” (i.e., the Equal Opportunity Mandate), Tr. (Day 1, Cooke) 169:20-24; see also Ex. 26 at

107:16-108:10, including its requirements with respect to sexual orientation and gender identity.

   178. The preference thus “effects the selective … imposition of burdens and advantages upon

particular denominations,” Larson, 456 U.S. at 253-54, depending on their views on marriage and

sexuality. For example, as Ms. Cooke testified, under the congregation preference, a Jewish pre-

school “presumably” could include a kosher food requirement in its mandatory statement of faith.

Tr. (Day 1, Cooke) 169:25-171:1. But this preference doesn’t extend to the religious-conduct



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standards at issue in this case. See also Br. of Amici Curiae the Jewish Coalition for Religious

Liberty, et al., Supporting Plaintiffs, ECF No. 71-1 at 15-17 (highlighting other examples of de-

nominational discrimination in application of congregation exception). These schools are not per-

mitted to form a community composed solely of those who believe in and live out their beliefs,

because the Department has labeled certain beliefs invidious “discrimination.” Such actions are

“suspect” and trigger “strict scrutiny,” Larson, 456 U.S. at 246, which the Department fails, see

supra ¶¶ 127-155. 14

V. Relief

     179. As relief for Defendants’ denial of their First Amendment rights, Plaintiffs’ amended

complaint seeks a permanent injunction, a declaratory judgment, and nominal damages. ECF No.

30 at 35-36. They are entitled to all three.

     A. Permanent injunction

     180. Plaintiffs are entitled to a permanent injunction permitting Plaintiff preschools to partic-

ipate in UPK Colorado consistent with their religious exercise.

     181. A party is entitled to a permanent injunction when it proves: (1) “actual success on the

merits”; (2) “irreparable harm unless the injunction is issued”; (3) that “the threatened injury out-

weighs the harm that the injunction may cause the opposing party”; and (4) “the injunction, if

issued, will not adversely affect the public interest.” Rocky Mtn. Christian Church v. Bd. of Cnty.

Comm’rs of Boulder Cnty., 612 F. Supp. 2d 1157, 1160 (D. Colo. 2009), aff’d, 613 F.3d 1229


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    Defendants’ answer, filed after the trial, suggests they may attempt to argue that Counts V and
VII are moot based on their post-complaint promulgation of the “congregation” definition. ECF
No. 107 at 28. But the evidence at trial showed that this new definition doesn’t resolve Plaintiffs’
claims because (among other things) Plaintiff preschools enroll non-Catholics (not just “parish-
ioners,” no matter how broadly defined), supra ¶ 38, and the Archdiocese requires Plaintiff pre-
schools to ensure that families sign and agree to the Statement of Community Beliefs (which is
not required of all parishioners), supra ¶¶ 29-31; see also Tr. (Day 1, Chilelli) 66:22-69:2. Instead,
the updated “congregation” definition only underscores the First Amendment problems with De-
fendants’ position, as explained above and at supra ¶¶ 67, 105, 177-178.


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(10th Cir. 2010); see also, e.g., Sw. Stainless, LP v. Sappington, 582 F.3d 1176, 1191 (10th Cir.

2009) (listing same requirements).

   182. These requirements are “‘remarkably similar’ to those for obtaining a preliminary injunc-

tion.” Ute Indian Tribe of the Uintah & Ouray Rsrv. v. Lawrence, 22 F.4th 892, 908 (10th Cir.

2022) (quoting Prairie Band Potawatomi Nation v. Wagnon, 476 F.3d 818, 822 (10th Cir. 2007)).

“Indeed, the same four elements apply to both types of injunctive relief, and the only measurable

difference between the two is that a permanent injunction requires showing actual success on the
merits, whereas a preliminary injunction requires showing a substantial likelihood of success on

the merits.” Id. (cleaned up; emphasis in original).

   183. “In the First Amendment context,” as here, “‘success on the merits will often be the de-

terminative factor’ because of the seminal importance of the interests at stake.” Verlo v. Martinez,

820 F.3d 1113, 1126 (10th Cir. 2016) (quoting Hobby Lobby Stores, Inc. v. Sebelius, 723 F.3d

1114, 1145 (10th Cir. 2013)). In other words, “[h]aving determined that” the plaintiff’s “First

Amendment argument is valid, the remaining” injunctive-relief factors typically “present little dif-

ficulty.” Citizens United v. Gessler, 773 F.3d 200, 218 (10th Cir. 2014). That is the case here.

       1. Irreparable harm

   184. First, Plaintiffs have suffered irreparable harm. Once success on the merits of a First

Amendment claim is shown, “no further showing of irreparable injury is necessary.” Awad, 670

F.3d at 1131. That is because—as the Supreme Court recently confirmed—“the loss of First

Amendment freedoms, for even minimal periods of time, unquestionably constitutes irreparable

injury.” Roman Catholic Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 67 (2020); see also, e.g.,

Heideman v. S. Salt Lake City, 348 F.3d 1182, 1190 (10th Cir. 2003) (same). Here, Plaintiffs have,

since the inception of UPK Colorado, lost their First Amendment right to participate in an other-

wise-available government program without having to forswear their religious exercise. That is

itself irreparable harm.



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   185. The irreparable harm is further compounded here, in multiple respects. For one thing,

“being subjected to discrimination” based on religion “is by itself an irreparable harm.” Singh v.

Carter, 168 F. Supp. 3d 216, 233 (D.D.C. 2016). Here, Plaintiffs have been singled out because of

their religious exercise—denied the ability to participate in a “universal” benefits program enjoyed

by over 2,000 peer schools (and, in the case of the Sheleys, more than 40,000 of their fellow Col-

oradans). See Tr. (Day 2, Odean) 210:13-16, 236:21-23.

   186. Moreover, Plaintiffs are continuing to suffer tangible—though no less irreparable—
harms each day they are excluded from UPK. The Sheleys are denied UPK funding they can never

recover, simply because they choose to send their children to Catholic preschools. Tr. (Day 1,

Sheley) 100:10-101:9. And the Plaintiff preschools miss out on the opportunity to enroll families

looking for a UPK provider—and thus are unable to compete with other private preschools on

equal terms. Tr. (Day 1, Seul) 90:23-92:5; Tr. (Day 1, Coats) 121:17-122:1. These harms are not

just immediate but are ongoing: As Director Odean confirmed at trial, new providers are able to

join UPK right now. Tr. (Day 2, Odean) 237:2-4.

       2. Balance of the equities and public interest

   187. When injunctive relief is sought against the government, the third and fourth injunction

factors “merge.” Denver Homeless Out Loud v. Denver, 32 F.4th 1259, 1278 (10th Cir. 2022)

(quoting Nken v. Holder, 556 U.S. 418, 435 (2009)).

   188. Here, this merged factor favors Plaintiffs. In fact, “it is always in the public interest to

prevent the violation of a party’s constitutional rights.” Gessler, 773 F.3d at 218. Meanwhile, when

a law has already been determined to be unconstitutional, “the [government’s] interests” in enforc-

ing it “do not outweigh a plaintiff’s interest in having its constitutional rights protected.” Id.; see

also, e.g., Pac. Frontier v. Pleasant Grove City, 414 F.3d 1221, 1237 (10th Cir. 2005) (similar,

collecting cases).




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   189. That analysis applies all the more here, where, as explained above, Plaintiffs’ participa-

tion in UPK Colorado would only further the statute’s goals of offering Colorado families a diverse

range of providers. Moreover, the harms suffered by Plaintiffs are (again) immediate and ongoing,

while the harms alleged by Defendants as resulting from Plaintiffs’ participation in the program

are—according to Defendants themselves—“speculative.” ECF No. 38 at 11-15; see also Awad,

670 F.3d at 1132 (injunction against “a measure that does not appear to address any immediate

problem will generally not cause material harm”).
   190. In short, when government action “affronts the federal Constitution—the Constitution

which the people of the United States themselves ordained and established—the court merely re-

minds the people that they must govern themselves in accordance with the principles of their

choosing.” Awad, 670 F.3d at 1132. Plaintiffs are entitled to a permanent injunction.

   B. Declaratory judgment

   191. Plaintiffs are also entitled to a declaratory judgment that Defendants’ exclusion of the

Plaintiff preschools from UPK Colorado violates the First Amendment. “[U]pon the filing of an

appropriate pleading,” this Court “may declare the rights and other legal relations of any interested

party seeking such declaration, whether or not further relief is or could be sought.” 28 U.S.C. §

2201(a). And here, “a declaratory judgment that [Defendants’ exclusion] is unconstitutional,”

along with “an injunction preventing its enforcement,” “would likely redress [Plaintiffs’] injury.”

Ward v. Utah, 321 F.3d 1263, 1269-70 (10th Cir. 2003); see also Carson v. Makin, No. 1:18-cv-

00327, 2023 WL 2814131, at *9 (D. Me. Apr. 6, 2023) (on remand from Supreme Court, holding

that plaintiffs were entitled to declaratory relief and permanent injunction).

   C. Nominal damages

   192. Plaintiffs are also entitled to nominal damages in the amount of $1.00. “[A]n award of

nominal damages is mandatory upon a finding of a constitutional violation.” Searles v. Van Bebber,




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251 F.3d 869, 879 (10th Cir. 2001); see also, e.g., Uzuegbunam v. Preczewski, 141 S. Ct. 792, 800

(2021). 15

                             [PROPOSED] JUDGMENT AND ORDER

     The Court declares that exclusion of the preschools at Plaintiffs St. Mary Catholic Parish in

Littleton and St. Bernadette Catholic Parish in Lakewood from Colorado’s Universal Preschool

Program on account of their sincere religious exercise, including: (i) prioritizing Catholic students

and families in admissions decisions; (ii) requiring employees to adhere to and support the schools’

religious beliefs, including on marriage and sexuality; (iii) considering for purposes of student

admission or retention whether a family or child adheres to and supports the schools’ religious

beliefs, including on marriage and sexuality; and (iv) operating their schools in accordance with

their religious beliefs, violates the First Amendment to the United States Constitution.

     The Court immediately enjoins Defendants Lisa Roy and Dawn Odean from conditioning par-

ticipation in the Colorado Universal Preschool Program, Colo. Rev. Stat. §§ 26.5-4-201, et seq.,

by Plaintiffs St. Mary Catholic Parish in Littleton, St. Bernadette Catholic Parish in Lakewood,

Daniel Sheley, and Lisa Sheley on their:

        i.   agreeing to provide, or providing, eligible children an equal opportunity to enroll and

             receive preschool services regardless of religious affiliation, sexual orientation, or gen-

             der identity;

      ii.    agreeing not to discriminate against any person on the basis of religion, sexual orienta-

             tion, or gender identity; or

      iii.   otherwise agreeing to violate, or violating, their religious beliefs, character, and exer-

             cise, including:

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   Plaintiffs’ claim for nominal damages does not reach the $20 threshold to trigger the Seventh
Amendment right to trial by jury and Plaintiffs’ other claims all sound in equity; this Court can
and should therefore resolve all of Plaintiffs’ remaining claims at this time. See Adams v. Cyprus
Amax Mins. Co., 149 F.3d 1156, 1159 (10th Cir. 1998).


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               a. prioritizing Catholic students and families in admissions decisions;

               b. requiring employees to adhere to and support the schools’ religious beliefs,

                   including on marriage and sexuality;

               c. considering for purposes of student admission or retention whether a family or

                   child adheres to and supports the schools’ religious beliefs, including on mar-

                   riage and sexuality; and

               d. maintaining operational policies in accordance with their religious beliefs on
                   marriage and sexuality, including with respect to dress codes, pronoun usage,

                   and restroom usage.

   The Court further orders that Defendants immediately permit Plaintiffs St. Mary Catholic Par-

ish in Littleton, St. Bernadette Catholic Parish in Lakewood, Daniel Sheley, and Lisa Sheley to

begin participating in UPK Colorado, including for the 2023-2024 school year, notwithstanding

their sincere religious exercise described above.

   The Court further orders Defendants to pay Plaintiffs $1.00 in nominal damages.



                               SO ORDERED this            day of                             , 2024.



                                                        The Honorable John L. Kane
                                                        United States District Court Judge




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Dated: January 26, 2024    Respectfully submitted,

                          /s/ Eric C. Rassbach
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                          Joseph C. Davis
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                                 CERTIFICATE OF SERVICE

   I hereby certify that I have served the foregoing document on all parties via CM/ECF and as

required by the relevant federal and local rules.

Dated: January 26, 2024                                  /s/ Eric C. Rassbach
                                                         Eric C. Rassbach




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